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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                                                       MDL NO. 2924
    PRODUCTS LIABILITY                                                                                20-MD-2924
    LITIGATION

                                                                   JUDGE ROBIN L. ROSENBERG
                                                          MAGISTRATE JUDGE BRUCE E. REINHART

    ________________________________/

            ORDER GRANTING BRAND-NAME MANUFACTURER DEFENDANTS’
            MOTION TO DISMISS PLAINTIFFS’ INNOVATOR-LIABILITY CLAIMS

             This matter is before the Court upon Brand-Name Manufacturer Defendants’

    (“Defendants”) Rule 12 Motion to Dismiss Plaintiffs’ Innovator-Liability Claims (“Motion to

    Dismiss”). DE 1585. The Court held a hearing on the Motion to Dismiss on December 14, 2020

    (the “Hearing”). DE 2498. The Court has carefully considered the Motion to Dismiss, Plaintiffs’

    Opposition thereto [DE 1973], Defendants’ Reply [DE 2132], the parties’ supplemental briefing

    [DE 2307; DE 2335], the arguments that the parties made during the Hearing, and the record and

    is otherwise fully advised in the premises. For the reasons set forth below, the Motion to Dismiss

    is GRANTED.

                                               I. Factual Background 1

             This case concerns the pharmaceutical product Zantac and its generic forms, which are

    widely sold as heartburn and gastric treatments. The molecule in question—ranitidine—is the

    active ingredient in both Zantac and its generic forms.



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     A court must accept a plaintiff’s factual allegations as true at the motion–to–dismiss stage. West v. Warden, 869 F.3d
    1289, 1296 (11th Cir. 2017) (“When considering a motion to dismiss, we accept as true the facts as set forth in the
    complaint and draw all reasonable inferences in the plaintiff’s favor.” (quotation marks omitted)). Plaintiffs have set
    forth their factual allegations in three “master” complaints: the Master Personal Injury Complaint (“MPIC”), the
    Consolidated Consumer Class Action Complaint (“CCCAC”), and the Consolidated Third Party Payor Class
    Complaint (“CTPPCC”) (collectively “Master Complaints”). DE 887, 888, 889.
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           Zantac has been sold since the early 1980’s, first by prescription and later as an over-the-

    counter medication. In 1983, the U.S. Food and Drug Administration (“FDA”) approved the sale

    of prescription Zantac. MPIC ¶¶ 226, 231, 432. GlaxoSmithKline (“GSK”) first developed and

    patented Zantac. Id. ¶ 230. Zantac was a blockbuster—the first drug in history to reach $1 billion

    annually in sales. ¶ 231.

           GSK entered into a joint venture with Warner-Lambert in 1993 to develop an over-the-

    counter (“OTC”) form of Zantac. Id. ¶ 233. Beginning in 1995, the FDA approved the sale of

    various forms of OTC Zantac. Id. ¶¶ 233, 237. The joint venture between GSK and Warner-

    Lambert ended in 1998, with Warner-Lambert retaining control over the sale of OTC Zantac in

    the United States and GSK retaining control over the sale of prescription Zantac in the United

    States. Id. ¶ 234. Pfizer acquired Warner-Lambert in 2000 and took control of the sale of OTC

    Zantac in the United States. Id. ¶ 235. The right to sell OTC Zantac in the United States later

    passed to Boehringer Ingelheim Pharmaceuticals and then to Sanofi. Id. ¶¶ 239-40, 242-44. When

    the patents on prescription and OTC Zantac expired, numerous generic drug manufacturers began

    to produce generic ranitidine products in prescription and OTC forms. Id. ¶¶ 249-51.

           Scientific studies have demonstrated that ranitidine can transform into a cancer-causing

    molecule called N-nitrosodimethylamine (“NDMA”), which is part of a carcinogenic group of

    compounds called N-nitrosamines. Id. ¶¶ 253, 321, 324, 331. Studies have shown that these

    compounds increase the risk of cancer in humans and animals. Id. ¶¶ 253, 264-72. The FDA, the

    Environmental Protection Agency, and the International Agency for Research on Cancer consider

    NDMA to be a probable human carcinogen. Id. ¶¶ 254, 258. The FDA has set the acceptable daily

    intake level for NDMA at 96 nanograms. Id. ¶¶ 4, 263.




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           Valisure LLC and ValisureRX LLC, a pharmacy and testing laboratory, filed a Citizen

    Petition on September 9, 2019, calling for the recall of all ranitidine products due to high levels of

    NDMA in the products. Id. ¶ 285. The FDA issued a statement on September 13 warning that

    some ranitidine products may contain NDMA. Id. ¶ 286. On November 1, the FDA announced

    that testing had revealed the presence of NDMA in ranitidine products. Id. ¶ 296. The FDA

    recommended that drug manufacturers recall ranitidine products with NDMA levels above the

    acceptable daily intake level. Id. Six months later, on April 1, 2020, the FDA requested the

    voluntary withdrawal of all ranitidine products from the market. Id. ¶ 301.

                                       II. Procedural Background

           After the discovery that ranitidine products may contain NDMA, Plaintiffs across the

    country began initiating lawsuits related to their purchase and/or use of the products. On February

    6, 2020, the United States Judicial Panel on Multidistrict Litigation created this multi-district

    litigation (“MDL”) pursuant to 28 U.S.C. § 1407 for all pretrial purposes and ordered federal

    lawsuits for personal injury and economic damages from the purchase and/or use of ranitidine

    products to be transferred to the undersigned. DE 1. Since that time, hundreds of Plaintiffs have

    filed lawsuits in, or had their lawsuits transferred to, the United States District Court for the

    Southern District of Florida. In addition, this Court has created a Census Registry where thousands

    of claimants who have not filed lawsuits have registered their claims. See DE 547.

           Plaintiffs filed three Master Complaints on June 22, 2020. DE 887, 888, 889. Plaintiffs

    contend that the ranitidine molecule is unstable, breaks down into NDMA, and has caused

    thousands of consumers of ranitidine products to develop various forms of cancer. MPIC ¶¶ 1, 6,

    19. Plaintiffs allege that “a single pill of ranitidine can contain quantities of NDMA that are

    hundreds of times higher” than the FDA’s allowable limit. Id. ¶ 4. Plaintiffs are pursuing federal



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    claims and state claims under the laws of all 50 U.S. states, Puerto Rico, and the District of

    Columbia. See generally CCCAC. The entities named as defendants are alleged to have designed,

    manufactured, tested, marketed, distributed, labeled, packaged, handled, stored, and/or sold

    ranitidine products. MPIC ¶¶ 20, 225.

           The Court has entered numerous Pretrial Orders to assist in the management of this

    MDL. In Pretrial Order # 30, the Court set a case management schedule that is intended to prepare

    the MDL for the filing of Daubert motions on general causation and class certification motions in

    December 2021. DE 875; see generally Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579

    (1993). In Pretrial Order # 36, the Court set a schedule for the filing and briefing of motions to

    dismiss under Federal Rule of Civil Procedure 12 directed to the Master Complaints. DE

    1346. Defendants filed the instant Motion to Dismiss pursuant to that schedule.

                              III. The Master Personal Injury Complaint

           For the purposes of this Order, the Court’s references to “Plaintiffs” are to only those

    Plaintiffs who allegedly were injured solely by generic ranitidine products, not by brand-name

    ranitidine products. While there are fifteen counts asserted against Defendants in the MPIC,

    Plaintiffs acknowledged at the Hearing that the only substantive counts they are pursuing against

    Defendants are Counts VII and VIII. DE 2498 at 209; MPIC ¶¶ 542–73. Count VII is a claim for

    general negligence. MPIC ¶¶ 542–61. Plaintiffs allege that Defendants “breached their duty of

    reasonable care and failed to exercise ordinary care in the design, manufacture, testing, marketing,

    labeling, packaging, handling, distribution, storage, and/or sale of ranitidine-containing products.”

    Id. ¶ 551. Count VIII is a claim for negligent misrepresentation. Id. ¶¶ 561–73. Plaintiffs allege

    that Defendants “owed a duty to Plaintiffs to make accurate and truthful representations regarding

    ranitidine-containing products” and breached that duty. Id. ¶ 564. In this Order, the Court refers



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    to Counts VII and VIII as Plaintiffs’ “negligence-based claims.” Additionally, Counts XIII-XV

    are derivative claims and include: loss of consortium, survival actions, and wrongful death. Id. ¶¶

    637–56.

            It is undisputed that all of Plaintiffs’ claims against Defendants are based on a theory of

    liability that is currently only recognized under California and Massachusetts law. DE 1585 at 6;2

    DE 1973 at 15; see also Rafferty v. Merck & Co., 92 N.E.3d 1205, 1219–20 (Mass. 2018) (holding

    that, under Massachusetts law, brand-name manufacturers owe a duty to generic drug consumers

    not to act in reckless disregard of an unreasonable risk of death or grave bodily injury and allowing

    common law claims against brand-name manufacturers for recklessness but not for ordinary

    negligence); T.H. v. Novartis Pharm. Corp., 407 P.3d 18, 47–48 (Cal. 2017) (holding that, under

    California law, brand-name manufacturers owe a duty to use ordinary care in warning about the

    safety risks of their drugs, regardless of whether the injured party consumed the brand or generic

    drug, and allowing claims of general negligence and negligent misrepresentation against brand-

    name manufacturers). This theory of liability has been referred to as “innovator liability.” See

    Allen Rostron, Prescription for Fairness: A New Approach to Tort Liability of Brand–Name and

    Generic Drug Manufacturers, 60 Duke L.J. 1123, 1176 (2011). Under this theory of liability, the

    consumers of a generic drug product may hold a brand-name drug manufacturer liable for failing

    to warn of a defect in the product—a product that the brand-name drug manufacturer did not itself

    make, sell, or distribute. See id. The theory is based on a principle articulated in Section 311 of

    the Restatement (Second) of Torts, which provides in relevant part:

            One who negligently gives false information to another is subject to liability for
            physical harm caused by action taken by the other in reasonable reliance upon such
            information, where such harm results. . . to such third persons as the actor should
            expect to be put in peril by the action taken.

    2
     Unless noted otherwise, all page number references herein are to the page numbers generated by CM/ECF in the
    header of each document.

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    Restatement (Second) of Torts § 311(1)(b) (Am. Law Inst. 1965).

             Here, Plaintiffs have pled that Defendants are liable for their alleged misrepresentations

    concerning the safety of ingesting brand-name ranitidine products which, according to Plaintiffs,

    created the market for generic ranitidine products, foreseeably led to the ingestion of generic

    ranitidine products, and, in turn, foreseeably led to generic consumers’ injuries.

                                      IV. Summary of the Parties’ Arguments

             Defendants filed the instant Motion to Dismiss seeking the dismissal of all claims asserted

    against them under Plaintiffs’ theory of liability in all individual complaints, the MPIC, and Short

    Form Complaints adopting the MPIC. DE 1585 at 20. 3 Defendants’ Motion to Dismiss has three

    primary arguments. First, claims brought in jurisdictions other than California and Massachusetts

    fail as a matter of law because those jurisdictions have yet to recognize Plaintiffs’ theory of liability

    under their tort regimes. Id. at 13. Second, although California and Massachusetts recognize

    Plaintiffs’ theory of liability under their respective tort regimes, Plaintiffs cannot assert their claims

    in the courts of those states because neither state has personal jurisdiction over Defendants. 4 Id. at

    14. Lastly, Plaintiffs’ claims fail even in those states in which Defendants are subject to general

    jurisdiction because those states are constrained by the Due Process Clause from applying the law

    of California or Massachusetts to Plaintiffs’ claims. Id. at 17.

             Plaintiffs argue that, in order to determine whether their theory of liability is viable under

    the laws of the jurisdictions that have not explicitly accepted or rejected it, the Court must make




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      “Individual complaints” are personal injury complaints that plaintiffs to this litigation have filed in their individual
    cases. “Short Form Complaints” are complaints that plaintiffs to this litigation have filed in their individual cases
    using the form attached to the MPIC. See DE 887-1.
    4
      Defendants argue that lack of personal jurisdiction is an independent ground for dismissal of all of Plaintiffs’ claims
    in all jurisdictions. DE 1585 at 14 n.3. However, they focus on the lack of personal jurisdiction in California and
    Massachusetts because they argue that those are the only states that recognize Plaintiffs’ theory of liability. Id.

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    an Erie prediction by examining the law of each jurisdiction. DE 1973 at 15. These jurisdictions

    are likely to find Plaintiffs’ theory of liability viable. Id. California and Massachusetts courts have

    specific personal jurisdiction over Defendants because of Defendants’ alleged targeted marketing

    and labeling activities in those states. Id. at 24. And, because California and Massachusetts courts

    have specific personal jurisdiction over Defendants, California and Massachusetts courts also have

    legislative jurisdiction in other states and territories with personal jurisdiction over Defendants. Id.

    at 26.

             The Court ordered supplemental briefing from Plaintiffs and responsive supplemental

    briefing from Defendants on the issue of whether Plaintiffs’ theory of liability may be viable under

    the laws of each jurisdiction that has yet to accept or reject the theory. DE 2228. 5 Thus, the parties

    provided briefing for the 35 remaining jurisdictions. DE 2307; DE 2335.

                                        V. Summary of the Court’s Rulings

             The Court undertook the requisite Erie predictions, as set forth in Appendix A to this Order,

    and concludes that none of the 35 jurisdictions that the Court analyzed would recognize Plaintiffs’

    theory of liability under which Defendants may be held liable for injuries sustained by Plaintiffs’

    ingestion of a product that Defendants did not manufacture, sell, or distributed. See Erie R. Co. v.

    Tompkins, 304 U.S. 64, 78 (1938). Additionally, the Court concludes that Plaintiffs failed to allege

    a prima facie case of specific personal jurisdiction as to any Defendant in California or

    Massachusetts and that California and Massachusetts do not have legislative jurisdiction within

    those states that have general personal jurisdiction over Defendants. Therefore, the Court grants



    5
      Defendants acknowledged in the Motion to Dismiss that California and Massachusetts have recognized Plaintiffs’
    theory of liability [DE 1585 at 6], and Plaintiffs acknowledged in their Opposition that their theory of liability is not
    viable under the laws of Alabama, Iowa, West Virginia, or Florida [DE 1973 at 11]. Therefore, the Court did not
    require supplemental briefing on those states. In their supplemental briefing, Plaintiffs apprised the Court that they
    are not pursuing claims under their theory of liability in the following additional eleven jurisdictions: Georgia, Idaho,
    Indiana, Kansas, Kentucky, Louisiana, New Jersey, Ohio, Tennessee, Texas, and Washington. DE 2307 at 25.

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    the Motion to Dismiss. Plaintiffs’ claims are dismissed without prejudice and with leave to amend

    to plead a prima facie case of personal jurisdiction in California and Massachusetts.

                                         VI. Standards of Review

           Defendants did not cite to any Federal Rule of Civil Procedure in their Motion to Dismiss.

    See generally DE 1585. However, Defendants informed the Court at the Hearing that they are

    moving to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(2) for lack of personal

    jurisdiction and Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim. DE 2498 at

    191.

    A. Rule 12(b)(2)

           A court may grant a motion to dismiss a pleading for lack of personal jurisdiction. Fed. R.

    Civ. P. 12(b)(2). At the pleading stage, the burden is on the plaintiff to establish a prima facie case

    of personal jurisdiction over the nonresident defendant. See Consol. Dev. Corp. v. Sherritt, Inc.,

    216 F.3d 1286, 1291 (11th Cir. 2000). A prima facie case of personal jurisdiction is established if

    a plaintiff presents sufficient facts, entitled to the assumption of truth and viewed in the light most

    favorable to the plaintiff, to withstand a motion for directed verdict. Id. Non-specific statements

    providing “labels and conclusions” or “a formulaic recitation of the elements of [jurisdiction]” are

    not accepted as true and are insufficient to establish a prima facie case of jurisdiction. Bell Atl.

    Corp. v. Twombly, 550 U.S. 544, 555 (2007); see, e.g., Snow v. DirecTV, Inc., 450 F.3d 1314, 1318

    (11th Cir. 2006) (holding that the plaintiff’s “vague and conclusory allegations” presented in his

    complaint were insufficient to establish a prima facie case of personal jurisdiction over a

    defendant).




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    B. Rule 12(b)(6)

           A court may grant a motion to dismiss a pleading if the pleading fails to state a claim upon

    which relief can be granted. Fed. R. Civ. P. 12(b)(6). A court ruling on a motion to dismiss accepts

    the well-pled factual allegations as true and views the facts in the light most favorable to the

    plaintiff. Jones v. Fransen, 857 F.3d 843, 850 (11th Cir. 2017). But the court need not accept

    legal conclusions couched as factual allegations. Diverse Power, Inc. v. City of LaGrange, Ga.,

    934 F.3d 1270, 1273 (11th Cir. 2019). “Under Rule 12(b)(6), dismissal is proper when, on the

    basis of a dispositive issue of law, no construction of the factual allegations will support the cause

    of action.” Allen v. USAA Cas. Ins. Co., 790 F.3d 1274, 1278 (11th Cir. 2015) (quotation marks

    omitted).

                                              VII.    Analysis

    A. Plaintiffs’ Theory of Liability Against Defendants

       1. Arguments and Allegations

           Defendants argue that this Court should align itself with the majority view that Plaintiffs’

    theory of liability—holding a brand-name manufacturer liable for injuries from a product it did

    not make, sell, or distribute—is invalid. DE 1585 at 13. Courts often reject the theory of liability

    because it ignores a fundamental principle of products liability law that requires a plaintiff to show

    that the product that caused injury was sold, manufactured, or distributed by the defendant. Id. at

    10; see In re Darvocet, Darvon & Propoxyphene Prod. Liab. Litig., 856 F. Supp. 2d 904, 908 (E.D.

    Ky. 2012) (“[I]t is well-settled law that a ‘threshold requirement of any products liability claim is

    that the plaintiff assert that the defendant’s product caused the plaintiff’s injury.’”) (quoting Smith

    v. Wyeth, 657 F.3d 420, 423 (6th Cir. 2011)), aff’d, 756 F.3d 917 (6th Cir. 2014); In re Aredia &

    Zometa Prod. Liab. Litig., No. 3-06-MD-1760, 2010 WL 5136142, at *2 (M.D. Tenn. Dec. 7,



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    2010) (holding that traditional principles of products liability law require that the plaintiff prove

    the defendant supplied the product which caused the injury). As no Plaintiff was injured by a

    Defendant’s product, the claims against them fail. DE 1585 at 10. Additionally, even if the fact

    that Plaintiffs were not injured by Defendants’ products is ignored, Plaintiffs’ negligence-based

    claims fail because courts have routinely held that a brand-name manufacturer owes no duty to

    generic consumers. Id. at 11.

             Plaintiffs argue that Defendants’ liability turns on whether they owe a duty to generic

    consumers. DE 1973 at 14. Defendants “intended for Plaintiffs and their physicians to reasonably

    and foreseeably rely on their misrepresentations about ranitidine-containing products in

    prescribing or recommending the drug to Plaintiffs, leading to their injuries.” Id. at 16. Holding

    “brand-manufacturers liable for injuries caused by generic versions of their drugs is consistent

    with the long-standing rule that those who disseminate misinformation to the public are liable for

    physical harm to third parties resulting from foreseeable reliance on those misrepresentations.” Id.

    at 17.

        2. Law on Erie Prediction

             A federal court sitting in diversity must apply state substantive law. Erie, 304 U.S. at 78.

    Where the highest state court has spoken on a topic, the federal court must follow its rule. Molinos

    Valle Del Cibao, C. por A. v. Lama, 633 F.3d 1330, 1348 (11th Cir. 2011). Where the highest

    state court has not spoken on the topic, the federal court must follow the decisions of intermediate

    appellate courts unless persuasive evidence demonstrates that the highest court would conclude

    otherwise. Id. If there is no explicit state law on an issue, “a federal court attempting to forecast

    state law must consider whatever might lend it insight, including ‘relevant state precedents,

    analogous decisions, considered dicta, scholarly works, and any other reliable data tending



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    convincingly to show how the highest court in the state would decide the issue at hand.’” Guideone

    Elite Ins. Co. v. Old Cutler Presbyterian Church, Inc., 420 F.3d 1317, 1326 n.5 (11th Cir. 2005)

    (quoting McKenna v. Ortho Pharm. Corp., 622 F.2d 657, 663 (3d Cir. 1980)). It is “generally

    presume[d] that [state] courts would adopt the majority view on a legal issue in the absence of

    indications to the contrary.” Bobo v. Tennessee Valley Auth., 855 F.3d 1294, 1304 (11th Cir. 2017)

    (citing Wammock v. Celotex Corp., 835 F.2d 818, 820 (11th Cir. 1988)).

            However, when a federal court is called upon to recognize a cause of action under a state’s

    laws that the state itself has yet to recognize, “considerations of comity and federalism counsel

    that [the federal court] proceed gingerly when venturing into uncharted waters of state substantive

    law.” Guarino v. Wyeth, LLC, 719 F.3d 1245, 1251 (11th Cir. 2013) (declining to “manufacture”

    a law making brand-name manufacturers liable for the injuries of generic consumers “out of whole

    cloth,” in part, because no Florida state court had adopted such law); see also City of Miami v.

    Bank of Am. Corp., 800 F.3d 1262, 1289 (11th Cir. 2015) (declining “to invent a novel basis for

    unjust enrichment under Florida law” because the Florida Supreme Court had not yet ruled on

    whether such law existed and because of “the complete lack of supporting Florida caselaw”).

        3. Analysis and Conclusion

            The Court has the task of making an Erie prediction as to whether the highest courts of 35

    jurisdictions would recognize Plaintiffs’ theory of liability.6 In making its Erie predictions, the

    Court follows the Erie analysis steps set forth by the Eleventh Circuit. In addition to its own

    research, the Court relies upon the supplemental briefing provided by the parties. DE 2307; DE

    2335. The Court’s Erie predictions for the 35 jurisdictions are included in Appendix A.


    6
     The 35 jurisdictions are: Alaska, Arizona, Arkansas, Colorado, Connecticut, Delaware, the District of Columbia,
    Hawaii, Illinois, Maine, Maryland, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New
    Hampshire, New Mexico, New York, North Carolina, North Dakota, Oklahoma, Oregon, Pennsylvania, Puerto Rico,
    Rhode Island, South Carolina, South Dakota, Utah, Vermont, Virginia, Wisconsin, and Wyoming.

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             As an initial matter, the Court recognizes that “the overwhelming national consensus—

    including the decisions of every [federal] court of appeal and the vast majority of district courts

    around the country to consider the question—is that a brand-name manufacturer cannot be liable

    for injuries caused by the ingestion of the generic form of a product.” Guarino, 719 F.3d at 1253

    (finding no liability under Florida law of a brand-name manufacturer for injuries caused by

    ingestion of a generic drug); see In re Darvocet, Darvon & Propoxyphene Prods. Liab. Litig., 756

    F.3d 917, 941–54 (6th Cir. 2014) (holding that brand-name manufacturers cannot be held liable

    for damages caused by ingestion of generic drugs under negligent misrepresentation law of 22

    states). 7 A small minority of federal and state courts have found that brand-name manufacturers

    owe a duty to generic consumers, reasoning that brand-name manufacturers know or should know

    that doctors foreseeably rely upon information relayed to them by brand-name manufacturers and

    foreseeably prescribe generic versions of the drug, which foreseeably causes injuries to generic

    consumers. 8



    7
      See also Johnson v. Teva Pharm. USA, Inc., 758 F.3d 605, 616 & n.3 (5th Cir. 2014) (finding no liability under
    Louisiana law of a brand-name manufacturer for injuries caused by ingestion of a generic drug and observing that
    “[o]ur decision is consistent with other circuit decisions that have held (under the laws of several different states) that
    brand-name manufacturers are not liable for injuries caused by a plaintiffs ingestion of generic products”); Eckhardt
    v. Qualitest Pharms., Inc., 751 F.3d 674, 681–82 (5th Cir. 2014) (finding no liability under Texas Law); Lashley v.
    Pfizer, Inc., 750 F.3d 470, 476–78 (5th Cir. 2014) (finding no liability under Mississippi and Texas law); Schrock v.
    Wyeth, Inc., 727 F.3d 1273, 1281–86 (10th Cir. 2013) (finding no liability under Florida law); Strayhorn v. Wyeth
    Pharms., Inc., 737 F.3d 378, 401–06 (6th Cir. 2013) (finding no liability under Tennessee law); Bell v. Pfizer, Inc.,
    716 F.3d 1087, 1093 (8th Cir. 2013) (finding no liability under Arkansas law); Demahy v. Schwarz Pharma, Inc., 702
    F.3d 177, 183 (5th Cir. 2012) (per curiam) (finding no liability under Louisiana law); Smith, 657 F.3d at 423–24
    (finding no liability under Kentucky law); Foster v. Am. Home Prod. Corp., 29 F.3d 165, 171 (4th Cir. 1994) (finding
    no liability under Maryland law).
    8
      See Rafferty, 92 N.E.3d at 1219 (recognizing a duty to refrain from acting recklessly under Massachusetts law); T.H.
    v. Novartis, 407 P.3d at 47 (recognizing a duty of ordinary care under California law); Wyeth, Inc. v. Weeks, 159 So.
    3d 649, 676 (Ala. 2014) (recognizing a duty of ordinary care under Alabama law), superseded by statute, Ala. Code
    § 6-5-530(a); Dolin v. SmithKline Beecham Corp., 62 F. Supp. 3d 705, 714 (N.D. Ill. 2014) (recognizing a duty of
    ordinary care under Illinois law), rev’d on other grounds sub nom. Dolin v. GlaxoSmithKline LLC, 901 F.3d 803 (7th
    Cir. 2018); Garner v. Johnson & Johnson, Janssen Rsch. & Dev. LLC, No. 116-CV-01494, 2017 WL 6945335, at *7
    (C.D. Ill. Sept. 6, 2017) (recognizing a duty of ordinary care under Illinois law); Kellogg v. Wyeth, 762 F. Supp. 2d
    694, 708–09 (D. Vt. 2010) (recognizing a duty of ordinary care under Vermont law).


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            As the Sixth Circuit explained,

            There are two analytical avenues by which a state’s highest court would determine
            whether Plaintiffs have stated viable [negligence and negligent misrepresentation]
            claims against Brand Manufacturers under applicable state law: (1) Plaintiffs’
            claims may be construed as strict “product liability” claims under the state’s tort
            regime regardless of whether they are articulated as sounding in negligence [and
            negligent misrepresentation], or (2) even if they are seen as distinct and separate
            from product liability claims under a state’s law, whether a duty exists between
            Brand Manufacturers and users of generic drugs that can give rise to liability.

    In re Darvocet, 756 F.3d at 937. If the plaintiff’s claims are construed as products liability claims,

    a threshold requirement is “product identification”: for a plaintiff’s claim to survive, the plaintiff

    must allege that she was injured by the defendant’s product. Id. at 938.; see also Am. L. Prod.

    Liab. 3d § 5:1 (2020) (“[A] threshold requirement for a products liability action is that the plaintiff

    identify the manufacturer or supplier responsible for placing the injury-causing product into the

    stream of commerce; this is the traditional requirement that plaintiff establish causation.”).

            Although Plaintiffs argue that they are not pursing products liability claims against

    Defendants, as explained in Appendix A, the laws of some jurisdictions do not treat claims related

    to products that are pursued under a theory of negligence as distinct from products liability claims.

    Thus, if Plaintiffs’ negligence-based claims are construed as products liability claims under state

    law, then for those claims to be viable under the laws of jurisdictions that require product

    identification, Plaintiffs must allege that the drugs that caused their injuries were made, sold, or

    distributed by Defendants. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (explaining that “[a]

    claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

    the reasonable inference that the defendant is liable for the misconduct alleged”). For Plaintiffs’

    negligence-based claims viewed under state law as distinct from products liability claims to be

    viable, Plaintiffs must establish that Defendants owed Plaintiffs a duty sufficient to trigger liability.




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            The Court predicts that the highest courts of all 35 jurisdictions examined would hold that

    it is settled law that product identification must exist for a products liability claim to succeed. See

    Appendix A. The Court further predicts that the highest courts of Arizona, Arkansas, Colorado,

    Connecticut, Mississippi, North Carolina, and Oregon would hold that Plaintiffs’ negligence-based

    claims are, in reality, products liability claims because all of Plaintiffs’ claims stem from an injury

    caused by a product. The negligence-based claims are not distinct from products liability claims

    under the laws of these jurisdictions. Thus, because these states require product identification and

    Plaintiffs have not pled product identification, Plaintiffs’ claims against Defendants of general

    negligence (Count VII) and negligent misrepresentation (Count VIII) fail under the laws of these

    jurisdictions.

            Lastly, the Court predicts that the highest courts of Alaska, Delaware, the District of

    Columbia, Hawaii, Illinois, Maine, Maryland, Michigan, Minnesota, Missouri, Montana,

    Nebraska, Nevada, New Hampshire, New Mexico, New York, North Dakota, Oklahoma,

    Pennsylvania, Puerto Rico, Rhode Island, South Carolina, South Dakota, Utah, Vermont, Virginia,

    Wisconsin, and Wyoming could hold that Plaintiffs’ negligence-based claims are distinct from

    products liability claims. Consequently, the Court undertook further analysis to predict whether

    the highest courts of those jurisdictions would recognize a duty owed by Defendants to Plaintiffs

    that gives rise to liability. Based on the Court’s review of each jurisdiction’s analysis of when a

    duty is owed, the Court predicts that the highest courts of each of these jurisdictions would

    determine that Defendants do not owe a duty to Plaintiffs. This prediction comports with the

    principles of comity and federalism, which counsel federal courts to “proceed gingerly when

    venturing into uncharted waters of state substantive law.” Guarino, 719 F.3d at 1251–53; see also

    Douglas Asphalt Co. v. QORE, Inc., 657 F.3d 1146, 1154 (11th Cir. 2011) (“It is not the function



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    of federal courts to expand state tort doctrine in novel directions absent state authority suggesting

    the propriety of doing so.”); City of Miami, 800 F.3d at 1289 (declining “to invent a novel basis

    for unjust enrichment under Florida law” because the Florida Supreme Court had not yet ruled on

    whether such a claim existed and because of “the complete lack of supporting Florida caselaw”).

    Furthermore, this prediction is consistent with the majority view and is appropriate given the

    absence of any strong evidence that these jurisdictions would join the minority view. See Bobo,

    855 F.3d at 1304 (holding that it is “generally presume[d] that [state] courts would adopt the

    majority view on a legal issue in the absence of indications to the contrary”). Plaintiffs’ claims of

    general negligence (Count VII) and negligent misrepresentation (Count VIII) against Defendants

    fail under the laws of these jurisdictions.

           In conclusion, the Court predicts that none of the highest courts of the 35 jurisdictions

    would recognize Plaintiffs’ theory of liability. Thus, Counts VII and VIII of the MPIC by Plaintiffs

    against Defendants fail under the laws of the 35 jurisdictions for failure to state a claim. And

    because Plaintiffs’ substantive claims fail, so do their derivative claims, Counts XIII, XIV, and

    XV. See In re Darvocet, 756 F.3d at 936 (affirming a district court’s dismissal of “derivative claims

    for wrongful death, survivorship, unjust enrichment, loss of consortium, and punitive damages”

    when the district court had dismissed all “underlying claims” because the derivative claims “stand

    or fall with the underlying claims on which they rest”).

    B. Personal Jurisdiction

       1. Arguments and Allegations

           Defendants argue that Plaintiffs have failed to establish specific personal jurisdiction in

    any state but focus their arguments on California and Massachusetts as the only two states that

    have explicitly recognized Plaintiffs’ theory of liability. DE 1585 at 15. As to California and



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    Massachusetts, personal jurisdiction over Defendants exists if Plaintiffs’ claims “‘arise out of or

    relate to’ actions” that Defendants took or directed to those states. DE 2132 at 10–11 (quoting

    Bristol-Myers Squibb Co. v. Superior Ct. of Cal., S.F. Cty., 137 S. Ct. 1773, 1780 (2017)). Further,

    “there must be an affiliation between the forum and the underlying controversy, principally, an

    activity or an occurrence that takes place in the forum State and is therefore subject to the State’s

    regulation.” DE 1585 at 15 (quoting Bristol–Myers Squibb Co., 137 S. Ct. at 1780). The

    “controversy” in this case concerns the content of the label for generic ranitidine products and,

    thus, “the only conduct by the Brand-Name Manufacturers relevant to the innovator-liability

    claims” is “the labeling decisions,” which “did not take place in California and Massachusetts.”

    Id. at 16. Additionally, it makes no difference whether Defendants marketed their brand-name

    ranitidine products in California or Massachusetts because, to establish personal jurisdiction,

    Plaintiffs would have to allege “that such marketing of [brand-name ranitidine products] somehow

    caused them to take generic ranitidine” or “that the Brand-Name Manufacturers should have

    foreseen that their marketing of [brand-name ranitidine products] in California or Massachusetts

    would expose them to product-liability suits based on generic ranitidine.” Id. at 12–13. Plaintiffs

    have not made either allegation, nor could they plausibly make such allegations. Id.

           Plaintiffs argue that the jurisdictional allegations in the MPIC are “enough” to show

    personal jurisdiction over Defendants in California and Massachusetts. DE 1973 at 24.

    Specifically, Plaintiffs allege in the MPIC “labeling and marketing efforts within the states of

    California and Massachusetts (and elsewhere), which is where the [D]efendants ‘targeted the

    consumer market.’” Id. (citing MPIC ¶ 221). Defendants’ labeling and marketing efforts within

    California and Massachusetts “created the market for generic ranitidine and are thus ‘affiliated’

    with the generic prescription and over-the-counter purchases that led to Plaintiffs’ injuries.” Id. at



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    25. “At the very least, Plaintiffs must be allowed to seek jurisdictional discovery into Defendants’

    labeling, sales, and advertising practices to disprove their denials of any connection to” California

    and Massachusetts. Id. at 26.

       2. Law on Personal Jurisdiction

           There are two types of personal jurisdiction: general and specific. Goodyear Dunlop Tires

    Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). “A court may assert general jurisdiction

    over foreign (sister-state or foreign-country) corporations to hear any and all claims against them

    when their affiliations with the State are so ‘continuous and systematic’ as to render them

    essentially at home in the forum State.” Id. (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310,

    316 (1945)). Absent exceptional circumstances, general personal jurisdiction over a corporation

    exists only in its place of incorporation and principal place of business. See Daimler AG v.

    Bauman, 571 U.S. 117, 138–39 & n.19 (2014).

           Specific personal jurisdiction over a defendant is established when a plaintiff’s claims arise

    out of or relate to the defendant’s contacts with the forum, the defendant purposefully availed itself

    of the privilege of conducting activities in the forum, and the exercise of personal jurisdiction

    comports with traditional notions of fair play and substantial justice. Louis Vuitton Malletier, S.A.

    v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013) (citing Burger King Corp. v. Rudzewicz, 471

    U.S. 462 (1985)). Importantly, “a tort ‘arise[s] out of or relate[s] to’ the defendant’s activity in a

    state only if the activity is a ‘but-for’ cause of the tort.” Waite v. Union Carbide Corp., 901 F.3d

    1307, 1314 (11th Cir. 2018) (quoting Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d 1210, 1223

    (11th Cir. 2009)).

           Whether specific or general, the exercise of personal jurisdiction over a defendant
           must comport with due process. The touchstone of this analysis is whether the
           defendant has certain minimum contacts with [the state] such that the maintenance
           of the suit does not offend traditional notions of fair play and substantial justice.


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    Id. at 1312 (quoting Int’l Shoe Co., 326 U.S. at 316). Traditional notions of fair play and

    substantial justice are not offended if “the defendant could reasonably foresee that it would cause

    harm within the forum and thereby had fair warning that it could be subject to suit . . . based on

    the harm caused.” Oldfield, 558 F.3d at 1223.

              The minimum contacts analysis examines “the relationship among the defendant, the

    forum, and the litigation.” Walden v. Fiore, 571 U.S. 277, 284 (2014) (quotation marks omitted).

    “[The] unilateral activity of another party or a third person is not an appropriate consideration

    when determining whether a defendant has sufficient contacts with a forum State to justify an

    assertion of jurisdiction.” Helicopteros Nacionales de Columbia, S.A. v. Hall, 466 U.S. 408, 417

    (1984).

              The burden is on the plaintiff to establish a prima facie case of personal jurisdiction over

    the non-resident defendant. See Consol. Dev. Corp., 216 F.3d at 1291. A prima facie case of

    personal jurisdiction is established if a plaintiff presents sufficient facts, entitled to the assumption

    of truth and viewed in the light most favorable to the plaintiff, to withstand a motion for directed

    verdict. Id. Non-specific statements providing “labels and conclusions” or “a formulaic recitation

    of the elements of [jurisdiction]” are not accepted as true and are insufficient to establish a prima

    facie case of jurisdiction. Bell Atl. Corp., 550 U.S. at 555; see, e.g., Snow, 450 F.3d at 1318

    (holding that the plaintiff’s “vague and conclusory allegations” presented in his complaint were

    insufficient to establish a prima facie case of personal jurisdiction over a defendant); In re Takata

    Airbag Prods. Liab. Litig., 396 F. Supp. 3d 1101, 1148–49 (S.D. Fla. 2019) (concluding that

    plaintiffs failed to establish a prima facie case of personal jurisdiction over foreign defendants

    where the “generalized allegations [were] devoid of specificity, and thereby fail[ed] to establish




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    that the Foreign Defendants ‘purposefully availed’ themselves of the privileges of conducting

    activity” in the states at issue).

        3. Analysis and Conclusion

            Plaintiffs allege in the MPIC the states in which Defendants are incorporated and have their

    principal places of business and thus are subject to general personal jurisdiction. MPIC ¶¶ 21–36.

    The Court accepts these allegations as true at this stage in the litigation. See Consol. Dev. Corp.,

    216 F.3d at 1291. At the Hearing, Plaintiffs acknowledged that each Defendant is subject to

    general personal jurisdiction only in the states in which it is incorporated and has its principal

    places of business. DE 2498 at 210; see MPIC ¶¶ 21–36.

            Yet, Plaintiffs allege that all of the defendants in the MPIC are subject to specific personal

    jurisdiction in all U.S. states and territories. Specifically, Plaintiffs allege that:

            220. Defendants have significant contacts with the federal judicial district identified
            in each Plaintiff’s [Short Form Complaint] such that they are subject to the personal
            jurisdiction of the courts in each of those districts.

            221. At all relevant times, Defendants designed, manufactured, tested, marketed,
            labeled, packaged, handled, distributed, stored, and/or sold ranitidine-containing
            products within the judicial district listed in the [Short Form Complaints] and
            targeted the consumer market within those districts.

            222. At all times alleged herein, Defendants were authorized to conduct or engage
            in business within each of the States and Territories of the United States and
            supplied ranitidine-containing products within each of the States and Territories of
            the United States. Defendants received financial benefit and profits as a result of
            designing, manufacturing, testing, marketing, labeling, packaging, handling,
            distributing, storing, and/or selling ranitidine-containing products within each of
            the States and Territories of the United States.

            223. Defendants each have significant contacts in each of the States and Territories
            of the United States, such that personal jurisdiction would be proper in any of them.
            Defendants have derived revenue from the sale of their ranitidine-containing
            products in each of the States and Territories of the United States.

    MPIC ¶¶ 220–23.



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           These allegations, however, do not establish a prima facie case of personal jurisdiction over

    Defendants in any identifiable state or territory. The allegations do not plead facts with sufficient

    specificity and are not tailored to any of the dozens of defendants named in the MPIC, nor are the

    allegations tailored to any particular state or territory. See, e.g., Snow, 450 F.3d at 1318; In re

    Takata, 396 F. Supp. 3d at 1148–49.

           Plaintiffs fail to allege specific, non-conclusory facts demonstrating that any of

    Defendants’ actions, including marketing and labeling decisions, took place in any state or

    territory, including California or Massachusetts, the only two states that recognize Plaintiffs’

    theory of liability. To establish specific personal jurisdiction based on Defendants’ activities in a

    particular state, Plaintiffs must allege that those activities were the “but-for” cause of Plaintiffs’

    ingestion of generic ranitidine products and injuries. See Waite, 901 F.3d at 1314 (holding that a

    tort arises out of or relates to a defendant’s activity only if the activity is a but-for cause of the

    tort). Plaintiffs have failed to do so. Additionally, Plaintiffs must allege that Defendants should

    have foreseen that their activities regarding their brand-name ranitidine products in that state could

    expose them to liability for injuries sustained from the ingestion of generic ranitidine products. See

    Oldfield, 558 F.3d at 1223. Again, Plaintiffs have failed to do so.

           In conclusion, Plaintiffs have sufficiently alleged general personal jurisdiction for each

    Defendant only in the states in which the Defendant is at home, that is, the states in which it is

    incorporated and has its principal place of business. Plaintiffs have failed to allege a prima facie

    case of specific personal jurisdiction for Defendants in any U.S. state or territory. Accordingly,




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    Counts VII, VIII, XIII, XIV, and XV of the MPIC by Plaintiffs against Defendants outside of

    Defendants’ home states are dismissed without prejudice. 9

    C. Legislative Jurisdiction

        1. Arguments and Allegations

             Defendants’ final argument is that, “[f]or the same reasons that Plaintiffs cannot establish

    specific jurisdiction over Defendants in California or Massachusetts courts, California or

    Massachusetts law cannot be extended to apply to claims brought in Defendants’ home states

    where the courts have general jurisdiction.” DE 1585 at 17.                          Plaintiffs respond that, “[i]f

    Defendants’ home states would apply foreign law, that cannot be unconstitutional.                                  For a

    Defendant’s home state has the constitutional freedom—and territorial sovereignty—to borrow

    the rule of decision from any place it wishes.” DE 1973 at 27.

        2. Law on Legislative Jurisdiction

             Legislative jurisdiction is a type of jurisdiction “relevant to determining the extraterritorial

    reach of a statute.” Hartford Fire Ins. Co. v. California, 509 U.S. 764, 813 (1993) (Scalia, J.,

    dissenting) (explaining that legislative jurisdiction refers to “the authority of a state to make its

    laws applicable to persons or activities” beyond its borders). A state’s legislative jurisdiction is

    limited by the Due Process Clause. See Gerling Glob. Reinsurance Corp. of Am. v. Gallagher, 267

    F.3d 1228, 1236–37 (11th Cir. 2001). Courts “inquire not only into the contacts between the

    regulated party and the state, but also into the contacts between the regulated subject matter and


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      As Plaintiffs have failed to plead a prima facie case of personal jurisdiction and have not moved for jurisdictional
    discovery, their request for jurisdictional discovery within their Opposition is denied at this stage. See Butler v. Sukhoi
    Co., 579 F.3d 1307, 1313–15 (11th Cir. 2009) (concluding that a complaint failed to plead a prima facie case of subject
    matter jurisdiction and stating that, “[i]nasmuch as the complaint was insufficient as a matter of law to establish a
    prima face case that the district court had jurisdiction, the district court abused its discretion in allowing the case to
    proceed and granting discovery on the jurisdictional issue”); Hinkle v. Cirrus Design Corp., 775 F. App’x 545, 550
    (11th Cir. 2019) (upholding the district court’s decision to deny “requests” for jurisdictional discovery when the party
    buried such requests in its briefs instead of presenting them in a motion).


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    the state.” Id. at 1236 (emphasis in original). “There must be at least some minimal contact

    between a State and the regulated subject before it can, consistently with the requirements of due

    process, exercise legislative jurisdiction.” Hellenic Lines Ltd. v. Rhoditis, 398 U.S. 306, 314 n.2

    (1970) (Harlan, J., dissenting). To determine whether a state has legislative jurisdiction, a court

    must look to personal jurisdiction and choice-of-law analyses. Gerling Glob., 267 F.3d at 1235.

            Typically, a choice-of-law analysis will resolve any questions about whether a foreign state

    possesses legislative jurisdiction. This is so for two reasons. First, if a choice-of-law analysis

    results in the application of the forum’s state law in lieu of a foreign state’s law, the question of

    whether a foreign state possessed legislative jurisdiction becomes moot. Second, if a choice-of-

    law analysis results in the application of the law of a foreign state, such an analysis necessarily

    requires a consideration of fairness and due process—the precise question that must be considered

    in a due process challenge to legislative jurisdiction; a choice-of-law analysis requires “that [a]

    State must have a significant contact or significant aggregation of contracts, creating state interests,

    such that its choice of law is neither arbitrary nor fundamentally unfair.” Am. Charities for

    Reasonable Fundraising Reg., Inc. v. Pinellas Cnty., 221 F.3d 1211, 1216 (11th Cir. 2000) (citing

    Allstate Ins. Co. v. Hague, 449 U.S. 302 (1981)).

        3. Analysis and Conclusion

            As the Court must conduct both a personal jurisdictional analysis and a choice-of-law

    analysis to consider legislative jurisdiction, the Court turns first to personal jurisdiction. Plaintiffs

    concede that “the same personal jurisdiction analyses apply to Defendants’ due process arguments

    directed to legislative jurisdiction.” DE 1973 at 26. Thus, for the same reasons that Plaintiffs failed

    to establish a prima facie case of specific personal jurisdiction over Defendants in any state or

    territory, the Court similarly holds that Plaintiffs have not established sufficient minimum contacts



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    between Defendants and the states of Massachusetts or California, such that neither state may

    apply their substantive law extraterritorially in accordance with the Due Process Clause. Thus,

    Counts VII, VIII, XIII, XIV, and XV of the MPIC brought by Plaintiffs against Defendants outside

    of California and Massachusetts to which Plaintiffs seek to have California and Massachusetts law

    apply fail and are dismissed without prejudice. Because of this dismissal, a choice-of-law analysis

    is unnecessary as to all Defendants except one: Patheon Manufacturing Services, LLC

    (“Patheon”).

            As alleged, Patheon is a brand-name manufacturer subject to general personal jurisdiction

    in Massachusetts. MPIC ¶ 35. Therefore, at least as to Pantheon, the Court concludes that Plaintiffs

    have met their burden to allege a basis for personal jurisdiction and the Court must conduct a

    choice-of-law analysis for the State of Massachusetts. The Court is nonetheless unable to do so

    because this issue has received minimal attention in the parties’ briefing. Plaintiffs merely

    contend, in a conclusory fashion, that any choice-of-law analysis will favor them, and Defendants,

    for their part, make the equally conclusory assertion that a choice-of-law analysis will favor them.

    Neither party has addressed or argued Massachusetts choice of law. The Court therefore expresses

    no opinion on Massachusetts choice-of-law principles and declines to dismiss Patheon on

    legislative-jurisdiction grounds at this juncture. In the event this issue is raised by either party in

    the future, the parties must argue the appropriate choice-of-law factors and must apply those

    factors to the facts of this case.

                                             VIII. Conclusion

            For the foregoing reasons, it is ORDERED AND ADJUDGED that Brand-Name

    Manufacturer Defendants’ Motion to Dismiss [DE 1585] is GRANTED.




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           1. All claims brought by Plaintiffs against Defendants in California courts fail for lack of

                personal jurisdiction and are DISMISSED WITHOUT PREJUDICE AND WITH

                LEAVE TO AMEND consistent with this Order.

           2. All claims brought by Plaintiffs against Defendants, with the exception of Patheon

                Manufacturing Services, LLC, in Massachusetts courts fail for lack of personal

                jurisdiction and are DISMISSED WITHOUT PREJUDICE AND WITH LEAVE

                TO AMEND consistent with this Order.

           3. All claims brought by Plaintiffs against Defendants in courts outside of California and

                Massachusetts are DISMISSED WITHOUT PREJUDICE AND WITH LEAVE

                TO AMEND consistent with this Order.

           4.   Leave to amend is granted as to the MPIC. At this time, the Court is not requiring any

                individual complaints or Short Form Complaints to be amended.

           5. Under Pretrial Order # 36, Plaintiffs’ repled Master Complaints are due 30 days after

                the Court issues its Order on Article III standing. DE 1346 at 4. The Court AMENDS

                that requirement in Pretrial Order # 36. Plaintiffs’ repled Master Complaints are due

                30 days after the Court issues its forthcoming Order on Branded Defendants’ Rule 12

                Partial Motion to Dismiss Plaintiffs’ Three Complaints as Preempted by Federal Law.

                DE 1580. All other requirements in Pretrial Order # 36 remain in place.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 31st day of

    December, 2020.

                                                         ___________________________
                                                         ROBIN L. ROSENBERG
                                                         UNITED STATES DISTRICT JUDGE
    Copies furnished to Counsel of Record




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                                                Appendix A

        1. Alaska

            The Alaska Supreme Court and the Alaska intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Alaska law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Alaska Supreme Court would find Plaintiffs’ theory of

    liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326

    n.5.

            There is no Alaska caselaw that explicitly addresses the issue of product identification.

    However, Alaska law dictates that a manufacturer “is strictly liable in tort when an article he places

    on the market, knowing that it is to be used without inspection for defects, proves to have a defect

    that causes injury to a human being.” Shanks v. Upjohn Co., 835 P.2d 1189, 1194 (Alaska 1992)

    (quoting Clary v. Fifth Ave. Chrysler Ctr., 454 P.2d 244, 247 (Alaska 1969)) (emphasis added).

    Under Alaska law, therefore, product identification must be alleged in order to maintain a products

    liability claim. However, Alaska does not have a products liability statute that would subsume

    Plaintiffs’ negligence-based claims. And, the Court is unaware of any Alaska caselaw indicating

    that those claims would be construed as products liability claims. The Alaska Supreme Court

    could consider Plaintiffs’ negligence-based claims as distinct from products liability claims. Thus,

    the Court must predict whether the Alaska Supreme Court would hold that Defendants owe a duty

    to Plaintiffs.

            To determine whether a claim presents an actionable duty of care, Alaska courts look to:

            The foreseeability of harm to the plaintiff, the degree of certainty that the plaintiff
            suffered injury, the closeness of the connection between the defendant's conduct
            and the injury suffered, the moral blame attached to the defendant's conduct, the
            policy of preventing future harm, the extent of the burden to the defendant and


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             consequences to the community of imposing a duty to exercise care with resulting
             liability for breach, and the availability, cost and prevalence of insurance for the
             risk involved.

    D. S. W. v. Fairbanks N. Star Borough Sch. Dist., 628 P.2d 554, 555 (Alaska 1981) (quotation

    omitted). Alaska courts have stated that “[t]he most important single criterion for imposing a duty

    of care is foreseeability” and that “the legal relationship between individuals” is the overall focus

    of the duty question. Bolieu v. Sisters of Providence in Wash., 953 P.2d 1233, 1235-36 (Alaska

    1998).

             After weighing these factors, the Court predicts that the Alaska Supreme Court would

    follow the majority view and hold that Defendants do not owe a duty to Plaintiffs. First, generic

    consumers’ injuries are not the foreseeable result of brand-name drug manufacturers’ conduct.

    Rather, the injuries are the foreseeable result of “the laws over which the brand manufacturers

    have no control.” In re Darvocet, 756 F.3d at 944 (citing Victor E. Schwartz et al., Warning:

    Shifting Liability to Manufacturers of Brand-Name Medicines When the Harm Was Allegedly

    Caused by Generic Drugs Has Severe Side Effects, 81 Fordham L. Rev. 1835, 1865 (2013)

    (hereinafter “Schwartz et al.”). To impose a duty under Alaska law “would be to stretch the

    concept of foreseeability too far.” Foster, 29 F.3d at 171.

             Further, the Court finds that the connection between Defendants’ alleged conduct and

    Plaintiffs’ alleged injuries is attenuated, given the absence of a relationship between the parties.

    Additionally, the burden to Defendants and the consequences to the community of imposing a duty

    of care are great. As other courts have concluded, many public policy considerations weigh against

    holding brand-name manufacturers liable for injuries caused by their generic competitors’ drugs.

    See, e.g., Huck v. Wyeth, Inc., 850 N.W.2d 353, 377 (Iowa 2014) (noting that “extending liability

    to brand manufacturers for harm caused by generic competitors would discourage investments



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    necessary to develop new, beneficial drugs by increasing the downside risks”); McNair v. Johnson

    & Johnson, 818 S.E.2d 852, 866 (W. Va. 2018) (explaining that “[i]f brand manufacturers become

    liable for injuries allegedly caused by generic drugs, significant litigation costs would be added to

    the price of new drugs to the disadvantage of consumers” and “the increase in litigation . . . could

    stifle the development of new drugs”).

           In sum, the Court predicts that the Alaska Supreme Court would hold that Plaintiffs’ claims

    against Defendants fail for lack of product identification and for lack of a duty giving rise to

    liability under Alaska Law.

       2. Arizona

           The Arizona Supreme Court and the Arizona intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Arizona law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Arizona Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326

    n.5.

           Arizona products liability law defines a “products liability action” as:

           [A]ny action brought against a manufacturer or seller of a product for damages for
           bodily injury, death or property damage caused by or resulting from the
           manufacture, construction, design, formula, installation, preparation, assembly,
           testing, packaging, labeling, sale, use or consumption of any product, the failure to
           warn or protect against a danger or hazard in the use or misuse of the product or the
           failure to provide proper instructions for the use or consumption of any product.

    Ariz. Rev. Stat. Ann. § 12-681 (2020) (emphasis added). Further, product identification is a

    “fundamental tenet” of Arizona products liability law. Winsor v. Glasswerks PHX, L.L.C., 63 P.3d

    1040, 1049 (Ariz. Ct. App. 2003) (noting that Arizona law construes the reach of products liability

    to those involved in the chain of production or distribution of the product, but that Arizona courts

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    have never “expanded liability to those entities who bear no causal connection to the production

    or distribution of the product”).

             Given the plain language of § 12-681, the Court predicts that the Arizona Supreme Court

    would find all of Plaintiffs’ claims to be products liability claims, regardless of how they are

    characterized, and that such claims require product identification to be viable. For this reason, the

    Court predicts that the Arizona Supreme Court would hold that Plaintiffs’ claims against

    Defendants fail for lack of product identification. 10

         3. Arkansas

             The Arkansas Supreme Court and the Arkansas intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Arkansas law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Arkansas Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326

    n.5.

             In Bell v. Pfizer, Inc., the Eighth Circuit predicted that the Arkansas Supreme Court would

    hold that Arkansas law does not support imposing liability on a brand-name manufacturer for a

    generic manufacturer’s product. 716 F.3d at 1094. The court held that the plaintiffs’ negligence-

    based claims for injuries caused by a product fell within the Arkansas Product Liability Act’s broad

    definition of a “product liability action,” making them products liability claims. Id. at 1092; see


    10
       The Eastern District of Kentucky has twice predicted that the Arizona Supreme Court would hold that Arizona law
    does not support imposing liability on a brand-name defendant for a generic manufacturer’s product due to lack of
    product identification. See In re Darvocet, Darvon & Propoxyphene Products Liability Litigation, 2012 WL 3842045,
    at *7–8 (E.D. Ky. Sept. 5, 2012) (holding that the plaintiffs’ claims failed for lack of product identification), aff’d on
    other grounds, 756 F.3d 917 (6th Cir. 2014); In re Darvocet, Darvon & Propoxyphene Products Liability Litigation,
    2012 WL 4831632, at *2–3 (E.D. Ky. Oct. 10, 2012) (same), aff’d on other grounds, 756 F.3d 917 (6th Cir. 2014).
    However, the court cited to no Arizona caselaw or statute in support of its prediction, and, because no Arizona plaintiff
    appealed, the Sixth Circuit did not analyze the claims under Arizona law as it did for twenty-two other states. Thus,
    while the Court takes note of these cases, the Court does not end its analysis of Arizona law there.

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    Ark. Code Ann. § 16-116-102(5) (2020) (defining “product liability action” as “all actions brought

    for or on account of personal injury, death, or property damage caused by or resulting from the

    manufacture, construction, design, formula, preparation, assembly, testing, service, warning,

    instruction, marketing, packaging, or labeling of any product”). The court also noted that a basic

    requirement of a products liability action under Arkansas law is product identification. Bell, 716

    F.3d at 1093. Thus, the court held the plaintiffs’ claims against brand-name manufacturers failed

    for lack of product identification. Id. And for the sake of argument, the court held that even if the

    requirement of product identification was ignored, the claims would fail for lack of a duty as there

    was no Arkansas authority that supported extending “a duty of care to the customer of a competitor

    using a competing product.” Id.

             While the Court is not bound by the decisions of federal courts of appeals outside of the

    Eleventh Circuit in making its Erie prediction, the Court finds the Eighth Circuit’s reasoning to be

    “reliable data tending convincingly to show” whether the Arkansas Supreme Court would find the

    theory of liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. 11 The Court

    therefore predicts that the Arkansas Supreme Court would hold that Plaintiffs’ claims fail for lack

    of product identification and for lack of a duty giving rise to liability under Arkansas law.

         4. Colorado

             The Colorado Supreme Court and the Colorado intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Colorado law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Colorado Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See id.


    11
      The Sixth Circuit also predicted that the Arkansas Supreme Court would reject this theory of liability, relying upon
    the Eighth Circuit’s reasoning in Bell. See In re Darvocet, 756 F.3d at 941.

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            In Sheeks v. American Home Products Corporation, a Colorado District Court held that

    Colorado law does not support imposing liability on a brand-name defendant for a generic

    manufacturer’s product. No. 02CV337, 2004 WL 4056060, at *2 (Colo. Dist. Ct. Oct. 15, 2004).

    The court held that the plaintiffs’ misrepresentation claims fell within the Colorado Product

    Liability Act’s broad definition of a “product liability action,” making them products liability

    claims. See id. at *1; see also Colo. Rev. Stat. Ann. § 13-21-401 (West 2020) (defining “[p]roduct

    liability action” as “any action brought against a manufacturer or seller of a product, regardless of

    the substantive legal theory or theories upon which the action is brought, for or on account of

    personal injury, death, or property damage caused by or resulting from . . . [a] product”) (emphasis

    added)).

            Further, the court noted that, “[u]nder Colorado statutory law, products liability is imposed

    on a ‘manufacturer’ of the product,” which includes “those entities involved in the production of

    the product or otherwise in control [of] the production process.” Sheeks, 2004 WL 4056060, at *1

    (quoting Yoder v. Honeywell, Inc., 900 F. Supp. 240, 246 (D. Colo. 1995), aff'd, 104 F.3d 1215

    (10th Cir. 1997)). In other words, product identification is a requirement of a products liability

    action under Colorado law. Thus, the court held that the plaintiffs’ claims failed for lack of product

    identification. Id.

            The court declined to look at the plaintiffs’ claim of negligent misrepresentation as distinct

    from their products liability claims. Id. at *2. The court noted for the sake of argument that even

    if it disregarded Colorado law and viewed the negligence misrepresentation claim as distinct, the

    claim would still fail because a brand-name manufacturer owed no duty to plaintiffs “to warn of a

    drug that it did not manufacture or supply.” Id. The Court came to this conclusion after analyzing

    the factors used to determine whether a duty exists under Colorado law. See id.; see also Bailey v.



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    Huggins Diagnostic & Rehab. Ctr., Inc., 952 P.2d 768, 772 (Colo. App. 1997) (listing the factors

    that Colorado courts consider to determine whether a duty exists as “whether harm is a reasonably

    foreseeable result of the act or omission under consideration” in addition to “the social utility of

    the defendant’s activity; the magnitude of the burden guarding against the harm; the consequences

    of placing that burden on the defendant; and all other factors that would be relevant in weighing

    the competing individual and societal”).

           While the Court is not bound by the decisions of state district courts in making its Erie

    prediction, the Court finds the Colorado District Court’s reasoning to be “reliable data tending

    convincingly to show” whether the Colorado Supreme Court would find the theory of liability at

    issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. The Court therefore predicts that the

    Colorado Supreme Court would hold that Plaintiffs’ claims against Defendants fail for lack of

    product identification and would otherwise fail for lack of a duty giving rise to liability under

    Colorado law.

       5. Connecticut

           The Connecticut Supreme Court and the Connecticut intermediary appellate courts have

    not determined whether generic drug consumers may hold brand-name drug manufacturers liable

    for injuries under Connecticut law. Therefore, the Court must make a prediction using all “reliable

    data tending convincingly to show” whether the Connecticut Supreme Court would find Plaintiffs’

    theory of liability viable for any of their claims against Defendants. See id.

           The Sixth Circuit predicted that the Connecticut Supreme Court would hold that

    Connecticut law does not support imposing liability on a brand-name defendant for a generic

    manufacturer’s product. See In re Darvocet, 756 F.3d at 942. The court found that the plaintiffs’

    negligence-based claims were encompassed by the Connecticut Products Liability Act, making



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    them products liability claims. Id; see Conn. Gen. Stat. § 52–572m(b) (defining a “product liability

    claim” as “ all claims or actions brought for personal injury, death, or property damage caused by

    the manufacture, construction, design, formula, preparation, assembly, installation, testing,

    warnings, instructions, marketing, packaging or labeling of any product”). The court also noted

    that a requirement of a product liability action under Connecticut law is product identification. In

    re Darvocet, 756 F.3d at 942. Thus, the court held that the plaintiffs’ claims failed for lack of

    product identification. Id.

           While the Court is not bound by the decisions of federal courts of appeals outside of the

    Eleventh Circuit in making its Erie prediction, the Court finds the Sixth Circuit’s reasoning to be

    “reliable data tending convincingly to show” whether the Connecticut Supreme Court would find

    the theory of liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. The Court

    therefore predicts that the Connecticut Supreme Court would hold that Plaintiffs’ claims against

    Defendants fail for lack of product identification.

       6. Delaware

           The Delaware Supreme Court and the Delaware intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Delaware law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Delaware Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See id.

           In Trower v. Janssen Pharmaceuticals, Inc., the federal District of Delaware predicted that

    the Delaware Supreme Court would hold that Delaware law does not support imposing liability on

    a brand-name defendant for a generic manufacturer’s product. No. 1:16-CV-00135-RGA, 2019

    WL 1571834, at *4 (D. Del. Apr. 11, 2019). In its analysis, the court first noted that Delaware



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    courts had held that Delaware products liability law requires product identification. Id. at *3 (citing

    In re Benzene Litig., No. CIV.A.05C-09-020-JRS, 2007 WL 625054, at *6 (Del. Super. Ct. Feb.

    26, 2007)). As to the question of whether brand-name manufacturers owe a generic consumer a

    duty, the court held that no Delaware law supports such a duty, and the court highlighted that “at

    least one Delaware court has expressed hesitation when pressured to make changes to traditional

    tort law in the product liability space.” Id. (citing Nutt v. A.C. & S. Co., 517 A.2d 690, 694 (Del.

    Super. Ct. 1986) (choosing to defer to the legislature rather than judicially expand the scope of

    liability)).   Additionally, the court held that, “even if Delaware law provided some basis for

    imposing liability for failure to warn on brand name manufacturers, it would be imprudent [for the

    federal court] to extend Delaware’s law to that point while sitting in diversity.” Id. at *4.

            While the Court is not bound by the decisions of federal district courts in making its Erie

    prediction, the Court finds the Trower court’s reasoning to be “reliable data tending convincingly

    to show” whether the Delaware Supreme Court would find the theory of liability at issue to be

    viable. The Court therefore predicts that the Delaware Supreme Court either would construe all

    of Plaintiffs’ claims as products liability claims that fail for lack of product identification or would

    rule that Plaintiffs’ claims otherwise fail for lack of a duty giving rise to liability under Delaware

    law.

        7. District of Columbia

            The D.C. Court of Appeals and the D.C. intermediary appellate courts have not determined

    whether generic drug consumers may hold brand-name drug manufacturers liable for injuries

    under D.C. law. Therefore, the Court must make a prediction using all “reliable data tending

    convincingly to show” whether the D.C. Court of Appeals would find Plaintiffs’ theory of liability

    viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326 n.5.



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           D.C. products liability law requires product identification. See Claytor v. Owens-Corning

    Fiberglas Corp., 662 A.2d 1374, 1381 (D.C. 1995) (“It is, of course, incumbent on the plaintiff in

    any product liability action to show that the defendant’s product was the cause of his or her

    injuries.”). However, D.C. does not have a products liability statute that would subsume Plaintiffs’

    negligence-based claims. Additionally, the Court is unaware of any D.C. caselaw indicating that

    those claims would be construed as products liability claims. The D.C. Court of Appeals could

    consider Plaintiffs’ negligence-based claims as distinct from products liability claims under D.C.

    law. As a result, the Court must predict whether the D.C. Court of Appeals would find that

    Defendants owe a duty to Plaintiffs.

           In determining whether a duty is owed, D.C. courts primarily look to the foreseeability of

    the harm, which is largely determined by the nature of the relationship between the parties. See

    Hedgepeth v. Whitman Walker Clinic, 22 A.3d 789, 794 (D.C. 2011). Whether a duty exists is

    “essentially a question of whether the policy of the law will extend the responsibility for the

    conduct to the consequences which have in fact occurred.” District of Columbia v. Cooper, 483

    A.2d 317, 321 (D.C. 1984) (quotation marks omitted).

           After weighing the requisite factors, the Court predicts that the D.C. Court of Appeals

    would follow the majority view and hold that Defendants do not owe a duty to Plaintiffs. First,

    the generic consumers’ injuries are not the foreseeable result of brand-name drug manufacturers’

    conduct. See In re Darvocet, 756 F.3d at 944. Rather, the injuries are the foreseeable result of “the

    laws over which the brand manufacturers have no control.” Id. (citing Schwartz et al. at 1865).

    Additionally, the Court views the relationship between the brand-name manufacturers and generic

    consumers to be, at best, “at arms’ length.” See Hedgepeth, 22 A.3d at 794 (noting that generally

    “there is only a minimal duty—if any—owed to a party who is at arms’ length”). The Court



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    predicts that the D.C. Court of Appeals would not recognize a duty owed by Defendants to

    Plaintiffs. In sum, the Court predicts that D.C. Court of Appeals would hold that Plaintiffs’ claims

    against Defendants fail for lack of product identification and for lack of a duty giving rise to

    liability under D.C. law.

       8. Hawaii

           The Supreme Court of Hawaii and the Hawaii intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Hawaii law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Supreme Court of Hawaii would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326

    n.5.

           In Acoba v. General Tire, Inc., the Supreme Court of Hawaii stated that, under Hawaii

    products liability law, there is a “principle” that “a manufacturer owes a duty to warn regarding its

    own product, not regarding products it did not produce, sell, or control.” 986 P.2d 288, 305 (Haw.

    1999). While Hawaii has no products liability statute that would subsume Plaintiffs’ negligence-

    based claims, the court’s meaning in Acoba is clear: a manufacturer owes no duty to consumers of

    products it did not produce, sell, or control. Therefore, the Court predicts that the Supreme Court

    of Hawaii would not recognize a duty owed by Defendants to Plaintiffs. In sum, the Court predicts

    that the Supreme Court of Hawaii would hold that Plaintiffs’ claims against Defendants fail for

    lack of a duty giving rise to liability under Hawaii Law.

       9. Illinois

           The Supreme Court of Illinois and the Illinois intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for



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    injuries under Illinois law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Supreme Court of Illinois would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326

    n.5.

              Three federal courts have predicted whether the Supreme Court of Illinois would hold that

    Illinois law supports imposing liability upon brand-name manufacturers. In Dolin v. SmithKline

    Beecham Corp., the Northern District of Illinois held that the plaintiff’s common-law negligence

    claims were distinct from her products liability claims. 62 F. Supp. 3d at 713. Consequently, the

    court analyzed the four Simpkins factors used to determine whether a duty is owed by brand-name

    manufacturers to generic consumers: “(1) the reasonable foreseeability of the injury; (2) the

    likelihood of the injury; (3) the magnitude of the burden guarding against the injury; and (4) the

    consequences of placing that burden on the defendant.” Id. at 714–15 (quoting Simpkins v. CSX

    Transportation, Inc., 965 N.E.2d 1092, 1097 (Ill. 2012)). The court held that it was “entirely

    foreseeable” that negligence on the part of the brand-name manufacturer regarding the brand-name

    label could result in injury to generic consumers because the labels were required by law to be

    identical and defects later discovered could only be remedied by the brand-name manufacturer. Id.

    at 714.

              The court further held that there was a strong likelihood that the brand-name

    manufacturer’s negligence in the design or warning label of the drug would cause injury, that

    guarding against the injury alleged was “as simple as updating the warning label,” and that there

    was nothing in the record to suggest the consequences of placing the burden on the defendant were

    large. Id. at 715. Thus, the court predicted that the Supreme Court of Illinois would conclude that

    the brand-name manufacturer owed a duty to the generic consumer giving rise to liability under



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    Illinois law, and, as a result, the plaintiff’s general negligence claim, negligent misrepresentation

    claim, and negligence-based products liability claims were deemed viable. Id. at 723–24. The

    Central District of Illinois, relying upon the Dolin court’s reasoning, came to the same conclusion.

    See Garner, 2017 WL 6945335, at *6–9.

            In In re Darvocet, the Sixth Circuit explicitly rejected the Dolin court’s reasoning. 756

    F.3d at 944. The court explained that, while Illinois has no products liability statute that

    encompassed the plaintiffs’ negligence-based claims, Illinois caselaw dictated that the claims

    “would be construed as products liability claims and fail for lack of product identification.” Id; see

    York v. Lunkes, 545 N.E.2d 478, 480 (Ill. App. Ct. 1989) (holding that, under Illinois law, a

    plaintiff must “identify the supplier of the product and establish a causal connection between the

    injury and the product”); Smith v. Eli Lilly & Co., 560 N.E.2d 324, 328 (Ill. 1990) (“[I]t is obvious

    that to hold a producer, manufacturer, or seller liable for injury caused by a particular product,

    there must first be proof that the defendant produced, manufactured, sold, or was in some way

    responsible for the product”) (quotation marks omitted).

            The Sixth Circuit further held that, even if the Supreme Court of Illinois construed the

    plaintiffs’ misrepresentation claims as distinct from products liability claims, the Simpkins duty

    factors do not support recognizing a duty owed by brand-name manufacturers to generic

    consumers. In re Darvocet, 756 F.3d at 944. In applying the factors, the court found that the

    generic consumers’ injuries were “not the foreseeable result of the brand manufacturers’ conduct,

    but of the laws over which the brand manufacturers have no control,” and that using “these laws

    as the basis of supplying the duty element for tort liability stretches foreseeability too far.” Id.; see

    Schwartz et al. at 1865. The Sixth Circuit also held that the Dolin court “failed to properly account

    for the magnitude of the brand manufacturers’ burden of guarding against the injury; and the



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    consequences of placing that burden on the brand manufacturers.” In re Darvocet, 756 F.3d at 944.

    The court reasoned that “[c]ourts in the majority note the traditional reticence against imposing

    liability on a manufacturer for injuries caused by their competitor’s products.” Id. And the court

    highlighted the “grave health policy consequences associated with recognizing brand manufacturer

    liability in these situations including higher brand name drugs and fewer innovative drugs.” Id.

            The Court finds the reasoning of the Sixth Circuit in In re Darvocet to be sound and more

    persuasive than the reasoning of the Dolin and Garner courts. While the Court is not bound by

    the decisions of federal courts of appeals outside of the Eleventh Circuit in making its Erie

    prediction, the Court finds the Sixth Circuit’s reasoning to be “reliable data tending convincingly

    to show” whether the Supreme Court of Illinois would find the theory of liability at issue to be

    viable. See Guideone Elite, 420 F.3d at 1326 n.5. The Court therefore predicts that the Supreme

    Court of Illinois would hold that Plaintiffs’ claims fail for lack of product identification and for

    lack of a duty giving rise to liability under Illinois law.

        10. Maine

            The Maine Supreme Judicial Court and the Maine intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Maine law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Maine Judicial Supreme Court would find Plaintiffs’

    theory of liability viable for any of their claims against Defendants. See id.

            The Maine Supreme Judicial Court has noted that there is “no authority” to suggest that

    “the supplier of a safe product has a duty to warn against another supplier’s dangerous product.”

    Bouchard v. Am. Orthodontics, 661 A.2d 1143, 1145 (Me. 1995). Further, the federal District

    Court of Maine held that, under Maine law, “[a] manufacturer or seller owes a duty to exercise



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    reasonable care to foreseeable users of its products.” Doe v. Solvay Pharm., Inc., 350 F. Supp. 2d

    257, 263 (D. Me. 2004), aff'd, 153 F. App'x 1 (1st Cir. 2005). Pursuant to this caselaw and the

    fact that, given there are no indications to the contrary, it is presumed that Maine would adopt the

    majority view requiring product identification for products liability claims.

           However, Maine does not have a products liability statute that would subsume Plaintiffs’

    negligence-based claims. Nor is the Court aware of any caselaw indicating that Maine courts

    would construe those claims as products liability. The Maine Supreme Judicial Court could

    consider Plaintiffs’ negligence-based claims distinct from products liability claims under Maine

    law. However, based on the same caselaw the Court relied upon in holding that the Maine Supreme

    Judicial Court would require product identification, the Court also predicts that the Maine Supreme

    Judicial Court would not recognize a duty owed by brand-name manufacturers to generic

    consumers. See Bouchard, 661 A.2d at 1145 (holding that “the supplier of a safe product has no

    duty to warn against another supplier’s dangerous product”); Doe, 350 F. Supp. 2d at 263

    (explaining that “[a] manufacturer or seller owes a duty to exercise reasonable care to foreseeable

    users of its products”).

           In sum, the Court predicts that the Maine Supreme Judicial Court would hold that

    Plaintiffs’ claims against Defendants fail for lack of product identification and for lack of a duty

    giving rise to liability under Maine law.

       11. Maryland

           The Maryland Court of Appeals and the Maryland intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Maryland law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Maryland Court of Appeals would find Plaintiffs’



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    theory of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d

    at 1326 n.5.

            In Foster v. American Home Products Corp., the Fourth Circuit predicted that the

    Maryland Court of Appeals would hold that Maryland law does not support imposing liability on

    a brand-name defendant for a generic manufacturer’s product. 29 F.3d 165, 172 (4th Cir. 1994).

    Specifically, the court held that, under Maryland law, a plaintiff must plead product identification

    and that the plaintiffs brought negligence-based claims merely as an attempt to “circumvent the

    necessity that a defendant be shown to have manufactured the product that caused an injury prior

    to being held liable for such injury.” Id. at 168; see also Lee v. Baxter Healthcare Corp., 721 F.

    Supp. 89, 92 (D. Md. 1989) (noting that it is “axiomatic” that the plaintiff must “prove that the

    defendant manufacturer made the product that caused plaintiff's injury”); Jensen v. Am. Motors

    Corp., 437 A.2d 242, 247 (Md. Ct. Spec. App. 1981) (“Regardless of the recovery theory, the

    plaintiff in product litigation must satisfy three basics from an evidentiary standpoint: (1) the

    existence of a defect; (2) the attribution of the defect to the seller; and (3) a causal relation between

    the defect and the injury.”) (emphasis added). The Fourth Circuit, thus, predicted that that the

    Maryland Court of Appeals would construe all of the plaintiffs’ claims as products liability claims

    that failed for lack of product identification. Foster, 29 F.3d at 168.

            Further, the court held that, even if it disregarded Maryland law and construed the

    plaintiffs’ negligence-based claims as distinct from products liability claims, Maryland law would

    not support recognizing a duty owed by brand-name manufacturers to generic consumers. Id. at

    171. The court explained that “to impose a duty… would be to stretch the concept of foreseeability

    too far” considering the complete absence of a relationship between brand-name manufacturers

    and generic consumers. See id.



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            While the Court is not bound by the decisions of federal courts of appeals outside of the

    Eleventh Circuit in making its Erie prediction, the Court finds the Fourth Circuit’s reasoning to be

    “reliable data tending convincingly to show” whether the Maryland Court of Appeals would find

    the theory of liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. 12 In sum, the

    Court therefore predicts that the Maryland Court of Appeals would hold that Plaintiffs’ claims fail

    for lack of product identification and for lack of a duty giving rise to liability under Maryland law.

         12. Michigan

            The Michigan Supreme Court and the Michigan intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Michigan law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Michigan Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See id.

            The Sixth Circuit predicted that the Michigan Supreme Court would hold that Michigan

    law does not support imposing liability on a brand-name defendant for a generic manufacturer’s

    product. See In re Darvocet, 756 F.3d at 946–47. In making this prediction, the Sixth Circuit first

    held that Michigan products liability law requires product identification. See id.; see also Abel v.

    Eli Lilly & Co., 343 N.W.2d 164, 170 (Mich. 1984) (holding that “the threshold requirement of

    any products liability action is identification of the injury-causing product and its manufacturer”).

    The court also found that Michigan products liability law does not clearly “foreclose or permit

    common law negligence actions against non-manufacturers for misrepresentations based on

    injuries from products”; thus, the court had to predict whether brand-name manufacturers owed



    12
      The Sixth Circuit and the federal District Court of Maryland also predicted that the Maryland Court of Appeals
    would reject this theory of liability, relying upon the Fourth Circuit’s reasoning in Foster. See In re Darvocet, 756
    F.3d at 946; Gross v. Pfizer, Inc., No. 10-CV-00110-AW, 2010 WL 4485774, at *2–3 (D. Md. Nov. 9, 2010).

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    generic consumers a duty of care giving rise to liability for their alleged misrepresentations. In re

    Darvocet, 756 F.3d at 947.

             The court explained that whether a defendant owes a plaintiff a duty under Michigan law

    depends on “the relationship between the parties, the nature and foreseeability of the risk, and any

    other considerations that may be relevant on the issue.” Id. (quoting Buczkowski v. McKay, 490

    N.W.2d 330, 333 (Mich. 1992)). In analyzing these factors, the court found that the parties had

    no relationship, that the generic consumers’ injuries were “not the foreseeable result of the brand

    manufacturers’ conduct, but of the laws over which the brand manufacturers have no control,” and

    that there were “grave health policy consequences associated with recognizing brand manufacturer

    liability in these situations, including high priced brand name drugs and fewer innovative drugs.”

    Id. (quoting Schwartz et al. at 1870–71). Thus, the court predicted that the Michigan Supreme

    Court would not recognize a duty owed by brand-name manufacturers to the generic consumers.

    Id.

             While the Court is not bound by the decisions of federal courts of appeals outside of the

    Eleventh Circuit in making its Erie prediction, the Court finds the Sixth Circuit’s reasoning to be

    “reliable data tending convincingly to show” whether the Michigan Supreme Court would find the

    theory of liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. In sum, the Court

    therefore predicts that the Michigan Supreme Court would hold that Plaintiffs’ claims fail for lack

    of product identification and for lack of a duty giving rise to liability under Michigan law.

          13. Minnesota

             The Minnesota Supreme Court and the Minnesota intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Minnesota law. Therefore, the Court must make a prediction using all “reliable data



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    tending convincingly to show” whether the Minnesota Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See id.

           The Minnesota Court of Appeals case of Flynn v. America Home Products Corp., 627

    N.W.2d 342, 344 (Minn. App. 2001) is instructive. In Flynn, a generic drug consumer brought

    misrepresentation claims against brand-name drug manufacturers. 627 N.W.2d at 344. The court

    held that the brand-name manufacturers did not owe the generic consumers a duty because

    “Minnesota common law… requires a stronger relationship and a direct communication” between

    a defendant and a plaintiff in order to find that a duty exists. Id. at 350. As the plaintiff “did not

    purchase or use [the brand-name manufacturers’] product . . . there was no direct relationship

    between them, let alone a fiduciary relationship that gave rise to a duty.” Id.

           Further, the Eighth Circuit has predicted, relying upon the reasoning in Flynn, that generic

    consumers’ products liability claims against brand-name manufacturers fail for lack of product

    identification and legal duty. See Mensing v. Wyeth, Inc., 588 F.3d 603, 612-14 (8th Cir. 2009),

    rev'd sub nom. PLIVA, Inc. v. Mensing, 564 U.S. 604 (2011), and opinion vacated in part,

    reinstated in part, 658 F.3d 867 (8th Cir. 2011); see also Magnuson v. Rupp Mfg., Inc., 171 N.W.2d

    201, 206 (Minn. 1969) (noting that Minnesota products liability law requires the plaintiff to prove

    that the “dangerous condition of the defendant’s product” caused the plaintiff’s injuries).

           While the Court is not bound by the decisions of federal courts of appeals outside of the

    Eleventh Circuit in making its Erie prediction, the Court finds the reasoning of the Eighth Circuit,

    as well as that of the Minnesota Court of Appeals in Flynn, to be “reliable data tending

    convincingly to show” whether the Minnesota Supreme Court would find the theory of liability at

    issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. The Court therefore predicts that the




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    Minnesota Supreme Court would hold that Plaintiffs’ claims fail for lack of product identification

    and for lack of a duty giving rise to liability under Minnesota law.

       14. Mississippi

           The Supreme Court of Mississippi and the Mississippi intermediary appellate courts have

    not determined whether generic drug consumers may hold brand-name drug manufacturers liable

    for injuries under Mississippi law. Therefore, the Court must make a prediction using all “reliable

    data tending convincingly to show” whether the Supreme Court of Mississippi would find

    Plaintiffs’ theory of liability viable for any of their claims against Defendants. See id.

           The Fifth Circuit predicted that the Supreme Court of Mississippi would hold that

    Mississippi law does not support imposing liability on a brand-name defendant for a generic

    manufacturer’s product. See Lashley, 750 F.3d at 476. The court noted that that Mississippi

    products liability claims require product identification and, additionally, that the Mississippi

    Products Liability Act (“MLPA”) applies “in any action for damages caused by a product.” Id. at

    476–77 (quoting Miss. Code Ann. § 11–1–63 (2020)); see also Monsanto Co. v. Hall, 912 So. 2d

    134, 136–37 (Miss. 2005) (holding that a required element of a products liability claim under

    Mississippi law is product identification). Thus, the Fifth Circuit construed all of the plaintiff’s

    negligence-based claims as products liability claims under the MLPA that failed for lack of product

    identification. Lashley, 750 F.3d at 476-77.

           While the Court is not bound by the decisions of federal courts of appeals outside of the

    Eleventh Circuit in making its Erie prediction, the Court finds the Fifth Circuit’s reasoning to be

    “reliable data tending convincingly to show” whether the Supreme Court of Mississippi would




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    find the theory of liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5.13 The

    Court therefore predicts that the Supreme Court of Mississippi would hold that Plaintiffs’ claims

    fail for lack of product identification.

         15. Missouri

            The Supreme Court of Missouri and the Missouri intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Missouri law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Supreme Court of Missouri would find Plaintiffs’

    theory of liability viable for any of their claims against Defendants. See id.

            Missouri products liability law requires product identification. See Ford v. GACS, Inc., 265

    F.3d 670, 680 (8th Cir. 2001) (holding that “[t]he common thread among Missouri products

    liability cases is that an entity must have ‘plac[ed] a defective product in the stream of commerce’”)

    (quoting Bailey v. Innovative Mgmt. & Inv., Inc., 916 S.W.2d 805, 807-08 (Mo. Ct. App. 1995));

    In re Darvocet, Darvon & Propoxyphene Prod. Liab. Litig., No. 2:11-MD-2226-DCR, 2012 WL

    3610237, at *2 (E.D. Ky. Aug. 21, 2012) (finding that, under Missouri law, “[t]here is no theory

    of product liability under which a defendant can be held liable for an injury caused by a product it

    did not sell, manufacture, or otherwise supply to the plaintiff”), aff’d on other grounds, 756 F.3d

    917 (6th Cir. 2014); Johnson v. Auto Handling Corp., 523 S.W.3d 452, 466 (Mo. 2017) (en banc)

    (holding that, in negligent manufacture, design, or warning products liability cases, Missouri law

    “requires the jury to consider whether the defendant manufactured the product”); City of St. Louis


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      The Sixth Circuit and two federal Mississippi federal district courts have also predicted that the Supreme Court of
    Mississippi would reject this theory of liability, relying upon the Fifth Circuit’s reasoning in Lashley. See In re
    Darvocet, 756 F.3d at 947–48; Truddle v. Wyeth, LLC, No. 2:11-CV-00207-GHD, 2015 WL 160696, at *4 (N.D.
    Miss. Jan. 12, 2015); Chatman v. Pfizer, Inc., No. 5:11-CV-69 DCB MTP, 2014 WL 4546042, at *3 (S.D. Miss. Sept.
    11, 2014).


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    v. Benjamin Moore & Co., 226 S.W.3d 110, 115 (Mo. 2007) (holding that, “where the plaintiff

    seeks to hold the defendants liable on the basis that their products caused harm to the plaintiff, the

    identification requirement must be satisfied”).

              However, Missouri does not have a products liability statute that would subsume Plaintiffs’

    negligence-based claims. Additionally, the Court is unaware of any Missouri caselaw indicating

    that those claims would be construed as products liability claims. The Supreme Court of Missouri

    could consider Plaintiffs’ negligence-based claims as distinct from products liability claims under

    Missouri law. As a result, the Court must predict whether the Supreme Court of Missouri would

    hold that Defendants owe a duty to Plaintiffs.

              In determining whether a duty is owed, Missouri courts weigh “the foreseeability of the

    injury, the likelihood of the injury, the magnitude of the burden of guarding against it, and the

    consequences of placing that burden on the defendant.” Bunker v. Ass’n of Mo. Elec. Coops., 839

    S.W.2d 608, 611 (Mo. Ct. App. 1992). “The common denominator that must be present is the

    existence of a relationship between the plaintiff and defendant that the law recognizes as the basis

    of a duty of care.” Id. Further, Missouri courts look “to the body of statutes, rules, principles and

    precedents which make up the law.” Kopoian v. George W. Miller & Co., 901 S.W.2d 63, 68 (Mo.

    Ct. App. 1995) (quotation marks omitted). “Where no duty is indicated by Missouri statute, case

    law, or otherwise, a fundamental prerequisite to establishing negligence is absent.” Ford, 265 F.3d

    at 682.

              After weighing the requisite factors, the Court predicts that the Supreme Court of Missouri

    would follow the majority view and hold that Defendants do not owe a duty to Plaintiffs. First,

    generic consumers’ injuries are not the foreseeable result of brand-name drug manufacturers’

    conduct. See In re Darvocet, 756 F.3d at 944. Rather, the injuries are the foreseeable result of “the



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    laws over which the brand manufacturers have no control.” Id. (citing Schwartz et al. at 1865). To

    impose a duty under Missouri law “would be to stretch the concept of foreseeability too far.”

    Foster, 29 F.3d at 171.

           Further, the Court finds that the burden to Defendants and the consequences to the

    community of imposing a duty of care are great. As other courts have concluded, many public

    policy considerations weigh against holding brand-name competitors liable for injuries caused by

    their generic competitors’ drugs. See, e.g., Huck, 850 N.W.2d at 377 (finding that “extending

    liability to brand manufacturers for harm caused by generic competitors would discourage

    investments necessary to develop new, beneficial drugs by increasing the downside risks”);

    McNair, 818 S.E.2d at 866 (explaining that “[i]f brand manufacturers become liable for injuries

    allegedly caused by generic drugs, significant litigation costs would be added to the price of new

    drugs to the disadvantage of consumers” and “the increase in litigation . . . could stifle the

    development of new drugs”).

           In sum, the Court predicts that the Supreme Court of Missouri would hold that Plaintiffs’

    claims against Defendants fail for lack of product identification and for lack of a duty giving rise

    to liability under Missouri law.

       16. Montana

           The Montana Supreme Court and the Montana intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Montana law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Montana Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326

    n.5.



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            Montana products liability law requires product identification. See Schelske v. Creative

    Nail Design, Inc., 933 P.2d 799, 803 (Mont. 1997) (holding that, to proceed with a prima facie

    claim of products liability, the plaintiff must allege product identification and that, further, the “the

    defect existed when it left the hands of the defendant”). However, Montana does not have a

    products liability statute that would subsume Plaintiffs’ negligence-based claims. Additionally,

    the Court is unaware of any Montana caselaw indicating that those claims would be construed as

    products liability claims. The Montana Supreme Court could consider Plaintiffs’ negligence-based

    claims as distinct from products liability claims under Montana law. As a result, the Court must

    predict whether the Montana Supreme Court would hold that Defendants owe a duty to Plaintiffs.

            In determining whether a duty is owed, Montana courts consider whether the injuries were

    “reasonably foreseeable” as well as various policy factors, including “the moral blame attributable

    to the defendant's conduct; the prevention of future harm; the extent of the burden placed on the

    defendant; the consequences to the public of imposing such a duty; and the availability of insurance

    for the risk involved.” Hinkle v. Shepherd Sch. Dist. No. 37, 93 P.3d 1239, 1244 (Mont. 2004).

            After weighing the requisite factors, the Court predicts that the Montana Supreme Court

    would follow the majority view and hold that Defendants do not owe a duty to Plaintiffs. First,

    generic consumers’ injuries are not the foreseeable result of brand-name drug manufacturers’

    conduct. See In re Darvocet, 756 F.3d at 944. Rather, the injuries are the foreseeable result of “the

    laws over which the brand manufacturers have no control.” Id. (citing Schwartz et al. at 1865). To

    impose a duty under Montana law “would be to stretch the concept of foreseeability too far.”

    Foster, 29 F.3d at 171.       Further, the Court finds that the burden to Defendants and the

    consequences to the community of imposing a duty of care are great. As other courts have

    concluded, many public policy considerations weigh against holding brand-name competitors



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    liable for injuries caused by their generic competitors’ drugs. See, e.g., Huck, 850 N.W.2d at 377

    (concluding that “extending liability to brand manufacturers for harm caused by generic

    competitors would discourage investments necessary to develop new, beneficial drugs by

    increasing the downside risks”); McNair, 818 S.E.2d at 866 (explaining that “[i]f brand

    manufacturers become liable for injuries allegedly caused by generic drugs, significant litigation

    costs would be added to the price of new drugs to the disadvantage of consumers” and “the increase

    in litigation . . . could stifle the development of new drugs”).

           In sum, the Court predicts that the Supreme Court of Montana Supreme Court would hold

    that Plaintiffs’ claims against Defendants fail for lack of product identification and for lack of a

    duty giving rise to liability under Montana law.

       17. Nebraska

           The Nebraska Supreme Court and the Nebraska intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Nebraska law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Nebraska Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326

    n.5.

           The Sixth Circuit predicted that the Nebraska Supreme Court would hold that Nebraska

    law does not support imposing liability on a brand-name defendant for a generic manufacturer’s

    product. See In re Darvocet, 756 F.3d at 948–49. The court determined that the plaintiffs’

    negligence-based claims were encompassed by Nebraska’s products liability statute, making them

    products liability claims. Id. at 948; see also Neb. Rev. Stat. § 25-21,180 (2020) (defining a

    “product liability action” as “any action brought against a manufacturer, seller, or lessor of a



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    product, regardless of the substantive legal theory or theories upon which the action is brought, for

    or on account of personal injury [or] death”). The court also noted that a requirement of a product

    liability action under Nebraska law is product identification. In re Darvocet, 756 F.3d at 948; see

    Neb. Rev. Stat. § 25-21,180 (2020) (limiting liability to “the manufacturer of the product or part

    thereof claimed to be defective”). Thus, the court predicted that the Nebraska Supreme Court

    would construe all of the plaintiffs’ claims as products liability claims that failed for lack of product

    identification. In re Darvocet, 756 F.3d at 948.

            The court also predicted that, even if the Nebraska Supreme Court characterized the

    plaintiffs’ negligence-based claims as distinct from products-liability claims, the Nebraska

    Supreme Court would not recognize a duty owed by the defendants to the plaintiffs. Id. The court

    explained that, in order to determine whether a defendant owes a duty, Nebraska courts look to the

    Restatement (Third) of Torts. Id (citing Restatement (Third) of Torts § 7 (Am. Law Inst. 2010)).

    The court further explained that, “[u]nder that regime, actors must ‘exercise reasonable care’ when

    their conduct creates a risk of harm, but courts may decide a defendant has ‘no duty’ in exceptional

    cases, when a countervailing policy warrants denying or limiting liability.” Id. (quoting A.W. v.

    Lancaster Cty. Sch. Dist. 0001, 784 N.W.2d 907, 918 (Neb. 2010)). The court determined that the

    brand-name manufacturers’ conduct “did not create the risk of harm that caused plaintiffs’ injuries,

    rather the Congressional and Nebraska state laws designed to increase the availability of generic

    drugs did.” Id.; see Schwartz et al., at 1870–71. The court further determined that there were

    “grave health policy consequences associated with recognizing brand manufacturer liability in

    these situations, including high priced brand name drugs and fewer innovative drugs.” In re

    Darvocet, 756 F.3d at 948. The court concluded that “the potential ramifications for Nebraskans’

    health and welfare” made the case exceptional and warranted denying liability. Id.



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           While the Court is not bound by the decisions of federal courts of appeals outside of the

    Eleventh Circuit in making its Erie prediction, the Court finds the Sixth Circuit’s reasoning to be

    “reliable data tending convincingly to show” whether the Nebraska Supreme Court would find the

    theory of liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. In sum, the

    Court therefore predicts that the Nebraska Supreme Court would hold that Plaintiffs’ claims fail

    for lack of product identification and duty giving rise to liability under Nebraska Law.

       18. Nevada

           The Supreme Court of Nevada and the Nevada intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Nevada law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Supreme Court of Nevada would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See id.

           The federal District Court of Nevada has twice predicted that the Supreme Court of Nevada

    would hold that Nevada law does not support imposing liability on a brand-name defendant for a

    generic manufacturer’s product. See Baymiller v. Ranbaxy Pharm., Inc., 894 F. Supp. 2d 1302,

    1310 (D. Nev. 2012); Moretti v. Wyeth, Inc., No. 2:08-CV-00396-JCMGWF, 2009 WL 749532,

    at *3 (D. Nev. Mar. 20, 2009). In Moretti, the court determined that, under Nevada products

    liability law, a plaintiff must allege product identification. Moretti, 2009 WL 749532, at *5; see

    Allison v. Merck & Co., Inc., 878 P.2d 948, 952 (Nev. 1994) (holding that a plaintiff must establish

    that his injury was “caused by a defect in the product, and that such defect existed when the product

    left the hands of the defendant”). Thus, the court predicted that the Supreme Court of Nevada

    would hold that plaintiff’s products liability claims would fail for lack of product identification.

    Moretti, 2009 WL 749532, at *5.



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           The district court also noted that, for a duty to exist, Nevada law “requires, at a minimum,

    some form of relationship between the parties.” Id. at *3. The court found that no such relationship

    existed between the plaintiff who had consumed a generic drug and the brand-name manufacturer

    defendant. Id. Thus, the court predicted that, even if the Supreme Court of Nevada characterized

    the plaintiffs’ fraud and negligence-based claims as distinct from products-liability claims, the

    Supreme Court would not recognize a duty owed by the defendant to the plaintiff. Id.; see

    Baymiller, 894 F. Supp. 2d at 1309 (holding that the brand-name manufacturer did not owe the

    plaintiff a duty of care because the brand-name manufacturer did not manufacture the drug that

    purportedly injured the plaintiff).

           While the Court is not bound by the decisions of federal district courts in making its Erie

    prediction, the Court finds the District Court of Nevada’s reasoning to be “reliable data tending

    convincingly to show” whether the Supreme Court of Nevada would find the theory of liability at

    issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. In sum, the Court therefore predicts

    that the Supreme Court of Nevada would hold that Plaintiffs’ claims fail for lack of product

    identification and for lack of a duty giving rise to liability under Nevada Law.

       19. New Hampshire

           The New Hampshire Supreme Court and the New Hampshire intermediary appellate courts

    have not determined whether generic drug consumers may hold brand-name drug manufacturers

    liable for injuries under New Hampshire law. Therefore, the Court must make a prediction using

    all “reliable data tending convincingly to show” whether the New Hampshire Supreme Court

    would find Plaintiffs’ theory of liability viable for any of their claims against Defendants. See id.

           New Hampshire law requires product identification. See Univ. Sys. of N.H. v. U.S. Gypsum

    Co., 756 F. Supp. 640, 653 (D.N.H. 1991) (explaining that the “imposition of liability depends



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    upon the plaintiff[] proving that the defendant manufacturer made the product that caused the

    plaintiff's injury”); cf. MacCleery v. T.S.S. Retail Corp., 882 F. Supp. 13, 16 (D.N.H. 1994)

    (holding that a manufacturer who was not involved in the design, manufacture, or distribution of

    the product that caused the plaintiff's injury “has not . . . engaged in any conduct for which, as a

    matter of law, it could be directly liable”). However, New Hampshire does not have a products

    liability statute that would subsume Plaintiffs’ negligence-based claims. And, the Court is unaware

    of any New Hampshire caselaw indicating that those claims would be construed as products

    liability claims. The New Hampshire Supreme Court could consider Plaintiffs’ negligence-based

    claims as distinct from products liability claims under New Hampshire law. As a result, the Court

    must predict whether the New Hampshire Supreme Court would hold that Defendants owe a duty

    to Plaintiffs.

            In determining whether a duty exists, New Hampshire courts balance “the societal interest

    involved, the severity of the risk, the burden upon the defendant, the likelihood of occurrence and

    the relationship between the parties.” Williams v. O'Brien, 669 A.2d 810, 813 (N.H. 1995).

    Further, “the balance weighs in favor of the plaintiff only when a special relationship indicating

    heightened reliance exists” or other “special circumstances” are present. Id.

            Defendants and Plaintiffs have no relationship, let alone the required “special relationship,”

    and the Court is unaware of any other “special circumstances” in this case that would warrant

    imposing liability upon Defendants. Therefore, the Court predicts that the New Hampshire

    Supreme Court would follow the majority view and hold that Defendants do not owe a duty to

    Plaintiffs.




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            In sum, the Court predicts that the New Hampshire Supreme Court would hold that

    Plaintiffs’ claims against Defendants fail for lack of product identification and for lack of a duty

    giving rise to liability under New Hampshire law.

        20. New Mexico

            The New Mexico Supreme Court and the New Mexico intermediary appellate courts have

    not determined whether generic drug consumers may hold brand-name drug manufacturers liable

    for injuries under New Mexico law.        Therefore, the Court must make a prediction using all

    “reliable data tending convincingly to show” whether the New Mexico Supreme Court would find

    Plaintiffs’ theory of liability viable for any of their claims against Defendants. See Guideone Elite,

    420 F.3d at 1326 n.5.

            New Mexico products liability law requires product identification. See Huber v. Armstrong

    World Indus., Inc., 930 F. Supp. 1463, 1465 (D.N.M. 1996) (holding that the plaintiff failed to

    produce sufficient evidence that he was injured by a product manufactured by any of the

    defendants); see also Tenney v. Seven-Up Co., 584 P.2d 205, 206 (N.M. 1978) (holding that, in a

    products liability case, a plaintiff must prove “the product was defective when it left the hands of

    the defendants”) (emphasis added). However, New Mexico does not have a products liability

    statute that would subsume Plaintiffs’ negligence-based claims.          Additionally, the Court is

    unaware of any New Mexico caselaw indicating that those claims would be construed as products

    liability claims. The New Mexico Supreme Court could consider Plaintiffs’ negligence-based

    claims as distinct from products liability claims under New Mexico law. As a result, the Court

    must predict whether the New Mexico Supreme Court would hold that Defendants owe a duty to

    Plaintiffs.




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           When determining the existence of a duty, New Mexico courts “must articulate specific

    policy reasons, unrelated to foreseeability considerations, when deciding whether a defendant does

    or does not have a duty or that an existing duty should be limited.” Rodriguez v. Del Sol Shopping

    Ctr. Assocs., L.P., 326 P.3d 465, 474 (N.M. 2014). “Only ‘[i]n exceptional cases, when an

    articulated countervailing principle or policy warrants denying or limiting liability in a particular

    class of cases, a court may decide that the defendant has no duty or that the ordinary duty of

    reasonable care requires modification.’” Id. at 471 (quoting Restatement (Third) of Torts § 7(b)

    (Am. Law Inst. 2010)).

           The Court predicts that the New Mexico Supreme Court would follow the majority view

    and determine that Defendants do not owe Plaintiffs a duty of care. As the Sixth Circuit explained

    when interpreting Nebraska law, which also adheres to the Restatement (Third) of Torts, the brand-

    name manufacturers’ conduct “did not create the risk of harm that caused plaintiffs’ injuries, rather

    the Congressional and Nebraska state laws designed to increase the availability of generic drugs

    did.” See In re Darvocet, 756 F.3d at 948; see also Schwartz et al., at 1870–71. Additionally, there

    are “grave health policy consequences associated with recognizing brand manufacturer liability in

    these situations, including high priced brand name drugs and fewer innovative drugs.” See In re

    Darvocet, 756 F.3d at 948. The potential health and welfare ramifications of recognizing such a

    duty make the case “exceptional” and warrant denying liability. Id.

           In sum, the Court predicts that the New Mexico Supreme Court would hold that Plaintiffs’

    claims against Defendants fail for lack of product identification and for lack of a duty giving rise

    to liability under New Mexico law.




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       21. New York

           The New York Court of Appeals and the New York intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under New York law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the New York Court of Appeals would find Plaintiffs’

    theory of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d

    at 1326 n.5.

           Six federal courts and two New York state trial courts have held that Plaintiffs’ theory of

    liability is inconsistent with New York law because a generic consumer’s claims against brand-

    name manufacturers fail for lack of product identification or a duty triggering liability. See In re

    Darvocet, 756 F.3d at 949; Montero v. Teva Pharm. USA Inc., No. 19 CIV. 9304 (AKH), 2019

    WL 6907467, at *1 (S.D.N.Y. Dec. 4, 2019); Rosser v. Sanofi-Aventis, No. 17-CV-2396 (VSB),

    2018 WL 4080351, at *4 (S.D.N.Y. Aug. 26, 2018); In re Zofran, 261 F. Supp. 3d 62, 78–79 (D.

    Mass. 2017); Coleson v. Janssen Pharm., Inc., 251 F. Supp. 3d 716, 720-23 (S.D.N.Y. 2017);

    Goldych v. Eli Lilly & Co., No. 5:04CV1477(GLS/GJD), 2006 WL 2038436, at *6 (N.D.N.Y July

    19, 2006); Preston v. Janssen Pharm., Inc., No. 158570/17, 2018 WL 5017045, at *3 (N.Y. Sup.

    Ct. Oct. 12, 2018); Weese v. Pfizer, Inc., No. No. 153742/12, 2013 WL 5691993, at *2–3 (N.Y.

    Sup. Ct. Oct. 08, 2013).

           In Goldych v. Eli Lilly & Co., the Northern District of New York explained that New York

    law “requires a plaintiff seeking recovery for an injury caused by a defective product to prove that

    the defendant manufactured the product.” 2006 WL 2038436, at *6; see also Rastelli v. Goodyear

    Tire & Rubber Co., 591 N.E.2d 222, 225 (N.Y. 1992) (holding that “a plaintiff may recover in

    strict products liability or negligence when a manufacturer fails to provide adequate warnings


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    regarding the use of its product”) (emphasis added). The court reasoned that, although the plaintiff

    asserted alternative theories, she had effectively brought a products liability suit and could not

    “circumvent the requirements of product liability law.” Goldych, 2006 WL 2038436, at *6. Thus,

    the court predicted that the New York Court of Appeals would hold that the plaintiff’s products

    liability claims failed for lack of product identification. Id.

            Additionally, in Weese v. Pfizer, Inc., a New York trial court explained that “[i]t is to be

    expected that [the brand-name manufacturer] has a duty in connection with its own products and

    labels.” 2013 WL 5691993, at *2. However, the court further held that the “duty should not extend

    to products and labeling over which it has no control, even if those products and labels mirrors its

    own, because it has done nothing toward putting them in the hands of consumers.” Id. Thus, the

    court held that the brand-name manufacture owed no duty to generic consumers. Id. at *3.

            While the Court is not bound by the decisions of federal district courts or state trial courts

    in making its Erie prediction, the Court finds the reasoning in Goldych and Weese to be “reliable

    data tending convincingly to show” whether the New York Court of Appeals would find the theory

    of liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. 14 In sum, the Court

    therefore predicts that the New York Court of Appeals would hold that Plaintiffs’ claims fail for

    lack of product identification or duty giving rise to liability under New York Law.

         22. North Carolina

            The North Carolina Supreme Court and the North Carolina intermediary appellate courts

    have not determined whether generic drug consumers may hold brand-name drug manufacturers

    liable for injuries under North Carolina law. Therefore, the Court must make a prediction using



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      The Sixth Circuit, the District of Massachusetts, and the Southern District of New York also predicted that the New
    York Court of Appeals would reject this theory of liability, relying upon the reasoning in Goldych and Weese. See In
    re Darvocet, 756 F.3d at 949; Coleson, 251 F. Supp. 3d at 721–22; In re Zofran, 261 F. Supp. 3d at 78–79.

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    all “reliable data tending convincingly to show” whether the North Carolina Supreme Court would

    find Plaintiffs’ theory of liability viable for any of their claims against Defendants. See id.

           Four federal courts have held that Plaintiffs’ theory of liability is inconsistent with North

    Carolina law because a generic consumer’s claims against brand-name manufacturers fail for lack

    of product identification. See In re Darvocet, 756 F.3d at 949–950; Perdue v. Wyeth Pharm., Inc.,

    209 F. Supp. 3d 847, 854 (E.D.N.C. 2016); Couick v. Wyeth, Inc., 691 F. Supp. 2d 643, 646

    (W.D.N.C. 2010); Stoddard v. Wyeth, Inc., 630 F. Supp. 2d 631, 634 (E.D.N.C. 2009). In Couick

    v. Wyeth, Inc., the Western District of North Carolina held that, although the plaintiff’s claims

    were “masked in various legal theories,” they were “premised on a single claim of product

    liability” and clearly fell within North Carolina’s definition of a “product liability action.” 691 F.

    Supp. 3d at 645; see N.C. Gen. Stat. Ann. § 99B-1 (2020) (defining a “product liability action” to

    include “any action brought for or on account of personal injury, death or property damage caused

    by or resulting from… any product”). The court also noted that North Carolina products liability

    law requires product identification. See Couick, 691 F. Supp. 3d at 645; see also Stoddard, 630 F.

    Supp. 2d at 634 (“[U]nder North Carolina law a manufacturer of a brand name pharmaceutical

    may not be held liable for injuries stemming from the use of another manufacturer’s generic

    bioequivalent.”). Thus, the court held that the plaintiff’s claims failed for lack of product

    identification. Couick, 691 F. Supp. 3d at 645.

           The court also held that the plaintiff’s claims failed for lack of a duty owed by the brand-

    name manufacturers to generic consumers. See id. at 646. In making this determination, the court

    reasoned that “[i]mposing a duty upon the name-brand manufacturers for alleged injuries sustained

    by a product they did not manufacturer would ‘stretch the concept of foreseeability too far.’” Id.

    (quoting Foster, 29 F.3d 165 at 171).



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            While the Court is not bound by the decisions of federal district courts in making its Erie

    prediction, the Court finds the district court’s reasoning in Couick to be “reliable data tending

    convincingly to show” whether the North Carolina Supreme Court would find the theory of

    liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5.15 In sum, the Court

    therefore predicts that the North Carolina Supreme Court would hold that Plaintiffs’ claims fail for

    lack of product identification or, alternatively, for lack of a duty giving rise to liability under North

    Carolina Law.

         23. North Dakota

            The North Dakota Supreme Court and the North Dakota intermediary appellate courts have

    not determined whether generic drug consumers may hold brand-name drug manufacturers liable

    for injuries under North Dakota law. Therefore, the Court must make a prediction using all

    “reliable data tending convincingly to show” whether the North Dakota Supreme Court would find

    Plaintiffs’ theory of liability viable for any of their claims against Defendants. See id.

            North Dakota products liability law requires product identification. See Reagan v. Hi-Speed

    Checkweigher Co., 30 F.3d 947, 948 (8th Cir. 1994) (explaining that “a plaintiff must prove that

    there was a defect in the defendant’s product or its design that was a proximate cause of his or her

    injuries”); Morrison v. Grand Forks Hous. Auth., 436 N.W.2d 221, 224 (N.D. 1989) (stating that,

    to recover under a products liability action, “the plaintiff must prove there was a ‘defect’ in the

    defendant’s product”). However, North Dakota law considers Plaintiffs’ negligence-based claims

    distinct from products liability claims. See Mauch v. Mfrs. Sales & Serv., Inc., 345 N.W.2d 338,

    345 (N.D. 1984) (holding that “recovery sought under a negligent failure-to-warn theory and

    recovery sought under a products-liability theory… are two separate and distinct theories of


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      The Sixth Circuit relied upon the reasoning in Couick in making its prediction that the North Carolina Supreme
    Court would reject this theory of liability. See In re Darvocet, 756 F.3d at 949.

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    recovery”). As a result, the Court must predict whether the North Dakota Supreme Court would

    hold that Defendants owe a duty to Plaintiffs.

           In determining whether a duty is owed, North Dakota courts “have focused on either the

    foreseeability of the injury or the nature of the relationship between the parties.” Palmer v. 999

    Quebec, Inc., 874 N.W.2d 303, 309 (N.D. 2016). In this case, regardless of whether the Court

    focuses on the foreseeability of Plaintiffs’ injuries or the nature of the relationship between

    Plaintiffs and Defendants, the Court predicts that the North Dakota Supreme Court would not

    recognize a duty owed by Defendants to Plaintiffs. There is no relationship between the parties.

    Additionally, generic consumers’ injuries are not the foreseeable result of brand-name drug

    manufacturers’ conduct. See In re Darvocet, 756 F.3d at 944. Rather, the injuries are the

    foreseeable result of “the laws over which the brand manufacturers have no control.” Id. (citing

    Schwartz et al. at 1865). To impose a duty under North Dakota law “would be to stretch the

    concept of foreseeability too far.” Foster, 29 F.3d at 171.

           In sum, the Court predicts that the North Dakota Supreme Court would hold that Plaintiffs’

    claims against Defendants fail for lack of product identification and for lack of a duty giving rise

    to liability under North Dakota law.

       24. Oklahoma

           The Supreme Court of Oklahoma and the Oklahoma intermediary appellate courts have

    not determined whether generic drug consumers may hold brand-name drug manufacturers liable

    for injuries under Oklahoma law. Therefore, the Court must make a prediction using all “reliable

    data tending convincingly to show” whether the Supreme Court of Oklahoma would find

    Plaintiffs’ theory of liability viable for any of their claims against Defendants. See Guideone Elite,

    420 F.3d at 1326 n.5.


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            Federal courts have consistently held that Plaintiffs’ theory of liability is not viable under

    Oklahoma law. See Schrock, 727 F.3d at 1281–82; accord In re Darvocet, 756 F.3d 917, 950–51

    (6th Cir. 2014); In re Zofran, 261 F. Supp. 3d 79-80 (D. Mass. 2017). The Tenth Circuit noted

    that Oklahoma law requires “a relationship between the defendant company and the product at

    issue” for products liability claims based on theories of strict liability and negligence. Schrock,

    727 F.3d at 1281; see also Kirkland v. Gen. Motors Corp., 521 P.2d 1353, 1363 (Okla. 1974)

    (holding that, to prevail on a strict liability claim for a defective product, a plaintiff must show that

    the product was defective when it left the defendant’s “possession and control”); Spence v. Brown–

    Minneapolis Tank, Co., 198 P.3d 395, 401 (Okla. Civ. App. 2008) (rejecting a plaintiff’s

    negligence claim because the defendant “had nothing to do with the manufacture” of the product

    at issue and did not “occupy a relationship which gives rise to a legal obligation . . . for the benefit

    of the” plaintiff). Without such a relationship, there can be no duty to warn triggering liability on

    the part of brand-name manufacturers. Schrock, 727 F.3d at 1282-83. The court found no

    recognized relationship between the generic consumers and brand-name manufacturers. Id. at

    1283. Based on that determination and the fact that every federal circuit court to address the

    plaintiffs’ theory of liability had rejected it, the court predicted that Supreme Court of Oklahoma

    would hold that the plaintiffs’ claims failed for lack of a duty owed by brand-name manufacturers

    to generic consumers. Id. at 1285-86.

            While the Court is not bound by the decisions of federal courts of appeals outside of the

    Eleventh Circuit in making its Erie prediction, the Court finds the Tenth Circuit’s reasoning to be

    “reliable data tending convincingly to show” whether the Supreme Court of Oklahoma would find

    the theory of liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. In sum, the




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    Court therefore predicts that the Supreme Court of Oklahoma would hold that Plaintiffs’ claims

    fail for lack of a duty.

        25. Oregon

            The Oregon Supreme Court and the Oregon intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Oregon law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Oregon Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See id.

            The federal District of Oregon predicted that the Oregon Supreme Court would hold that

    Oregon law does not support imposing liability on a brand-name defendant for a generic

    manufacturer’s product. See Phelps v. Wyeth, Inc., 857 F. Supp. 2d 1114, 1120 (D. Or. 2012). The

    court held that Oregon’s products liability statute “includes all theories a plaintiff may bring in an

    action based on a product defect.” Id. at 1121; see Or. Rev. Stat. Ann. § 30.900 (2020) (defining

    “product liability civil action” as “a civil action brought against a manufacturer, distributor, seller,

    or lessor of a product for damages for personal injury, death, or property damage arising out of . .

    . any defect, failure to warn, or failure to properly instruct in the use of a product”). The court also

    noted that, “[u]nder Oregon’s product liability law, the name-brand defendants cannot be found

    liable for plaintiffs’ injuries because plaintiffs cannot show that their injuries resulted from the use

    of the name-brand manufacturers’ product.” Phelps, 857 F. Supp. 2d at 1120 (citing McEwen v.

    Ortho Pharm. Corp., 528 P.2d 522, 538 (Or. 1974) (holding that the manufacturer owed a duty to

    disclose risks inherent in the use of its product)). Thus, the court held that all of the plaintiff’s

    claims, whether based in a theory of negligence or strict liability, were products liability claims

    that failed for lack of product identification. Id. at 1122.


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            While the Court is not bound by the decisions of federal district courts in making its Erie

    prediction, the Court finds the district court’s reasoning in Phelps to be “reliable data tending

    convincingly to show” whether the Oregon Supreme Court would find the theory of liability at

    issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. In sum, the Court therefore predicts

    that the Oregon Supreme Court would hold that Plaintiffs’ claims fail for lack of product

    identification.

        26. Pennsylvania

            The Supreme Court of Pennsylvania and the Pennsylvania intermediary appellate courts

    have not determined whether generic drug consumers may hold brand-name drug manufacturers

    liable for injuries under Pennsylvania law. Therefore, the Court must make a prediction using all

    “reliable data tending convincingly to show” whether the Supreme Court of Pennsylvania would

    find Plaintiffs’ theory of liability viable for any of their claims against Defendants. See id.

            The Eastern District of Pennsylvania predicted that the Supreme Court of Pennsylvania

    would hold that Pennsylvania law does not support imposing liability on a brand-name defendant

    for a generic manufacturer’s product. See Colacicco v. Apotex, Inc., 432 F. Supp. 2d 514, 539

    (E.D. Pa. 2006), aff'd, 521 F.3d 253 (3d Cir. 2008), vacated and remanded on other grounds, 556

    U.S. 1101 (2009).      The court noted that “an essential and elementary characteristic” of

    Pennsylvania products liability law is that it requires “that the defendant manufacture or sell the

    product in question.” Id. at 541 (citing Hahn v. Richter, 673 A.2d 888, 891 (Pa. 1996) (holding

    that a products liability claim can only be brought against “a manufacturer” of the drug in

    question)). Further, after considering the factors that Pennsylvania courts examine to determine

    whether a duty exists, the court predicted that the Supreme Court of Pennsylvania would not

    recognize a duty owed by brand-name manufacturers to generic consumers. Id.; see Althaus v.


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    Cohen, 756 A.2d 1166, 1169 (Pa. 2000) (listing the factors as: “(1) the relationship between the

    parties; (2) the social utility of the actor’s conduct; (3) the nature of the risk imposed and

    foreseeability of the harm incurred; (4) the consequences of imposing a duty upon an actor; and

    (5) the overall public interest in the proposed solution”). The court held that to impose a duty

    “‘would be to stretch the concept of foreseeability too far,’ as [the brand-name manufacturer]

    cannot reasonably expect that consumers will rely on information they provide when actually

    ingesting another company’s drug.” Colacicco, 432 F. Supp. 2d at 541 (quoting Foster, 29 F.3d at

    171). The court also held that it would be unfair to impose a duty upon the brand-name

    manufacturer when it did benefit from the sale of the generic drug and had “no control over the

    manufacturing or labeling” of the drug, “yet it bore the expense of developing the [brand-name

    drug] from which the [generic manufacturer] materially benefits.” Id. (citing Foster, 29 F.3d at

    170).   Additionally, the court highlighted the importance of not “unduly burden[ing] the

    pharmaceutical industry with unfettered liability” so as to avoid hindering innovation. Id. at 542.

            While the Court is not bound by the decisions of federal district courts in making its Erie

    prediction, the Court finds the district court’s reasoning in Colacicco to be “reliable data tending

    convincingly to show” whether the Supreme Court of Pennsylvania would find the theory of

    liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. In sum, the Court therefore

    predicts that the Supreme Court of Pennsylvania would hold that Plaintiffs’ claims fail for lack of

    a duty triggering liability under Pennsylvania law.

       27. Puerto Rico

            The Supreme Court of Puerto Rico and the Puerto Rico intermediary appellate courts have

    not determined whether generic drug consumers may hold brand-name drug manufacturers liable

    for injuries under Puerto Rico law. Therefore, the Court must make a prediction using all “reliable



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    data tending convincingly to show” whether the Supreme Court of Puerto Rico would find

    Plaintiffs’ theory of liability viable for any of their claims against Defendants. See id.

            Puerto Rico products liability law requires product identification. See Rivera Santana v.

    Superior Packaging Inc., 132 D.P.R. 115, 125–26 (P.R. 1992) (explaining that “[a] manufacturer

    is strictly liable in tort when an article he places on the market, knowing that it is to be used without

    inspection for defects, proves to have a defect that causes injury to a human being”) (quotations

    omitted). However, Puerto Rico does not have a products liability statute that would subsume

    Plaintiffs’ negligence-based claims. And, the Court is unaware of any Puerto Rico caselaw

    indicating that those claims would be construed as products liability claims. The Supreme Court

    of Puerto Rico could consider Plaintiffs’ negligence-based claims as distinct from products

    liability claims under Puerto Rico law. As a result, the Court must predict whether the Supreme

    Court of Puerto Rico would find that Defendants owe a duty to Plaintiffs.

            Under Puerto Rico law, a duty of care may arise: “(1) by statute or regulation; (2) ‘as the

    result of a special relationship between the parties that has arisen through custom; or (3) as the

    result of a traditionally recognized duty of care particular to the situation.’” Baum-Holland v.

    Hilton El Con Mgmt., LLC (1st Cir. 2020) (quoting De Jesús-Adorno v. Browning Ferris Indus. of

    P.R., Inc., 160 F.3d 839, 842 (1st Cir. 1998)). There is no Puerto Rico statute or regulation that

    imposes a duty on brand-name manufacturers to generic consumers. Nor is there a “special

    relationship between the parties” from which a duty of care may be recognized; in fact, there is no

    relationship between brand-name manufacturers and generic consumers. Further, there exists no

    “traditionally recognized duty of care” requiring a brand-name manufacturer to go beyond

    ensuring the safety of its own product. Thus, the Court predicts that the Supreme Court of Puerto




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    Rico would not recognize a duty owed by Defendants to Plaintiffs triggering liability under Puerto

    Rico law.

           In sum, the Court predicts that the Supreme Court of Puerto Rico would hold that Plaintiffs’

    claims against Defendants fail for lack of product identification and for lack of a duty giving rise

    to liability under Puerto Rico law.

       28. Rhode Island

           The Rhode Island Supreme Court and the Rhode Island intermediary appellate courts have

    not determined whether generic drug consumers may hold brand-name drug manufacturers liable

    for injuries under Rhode Island law. Therefore, the Court must make a prediction using all

    “reliable data tending convincingly to show” whether the Rhode Island Supreme Court would find

    Plaintiffs’ theory of liability viable for any of their claims against Defendants. See Guideone Elite,

    420 F.3d at 1326 n.5.

           Rhode Island products liability law requires product identification. See Clift v. Vose

    Hardware, Inc., 848 A.2d 1130, 1132 (R.I. 2004) (per curiam) (noting that “it is axiomatic that a

    plaintiff must prove that the proximate cause of his or her injuries was the defendant’s product”)

    (quotation omitted). However, Rhode Island does not have a products liability statute that would

    subsume Plaintiffs’ negligence-based claims. Additionally, the Court is unaware of any Rhode

    Island caselaw indicating that those claims would be construed as products liability claims. The

    Rhode Island Supreme Court could consider Plaintiffs’ negligence-based claims as distinct from

    products liability claims under Rhode Island law. As a result, the Court must predict whether the

    Rhode Island Supreme Court would hold that Defendants owe a duty to Plaintiffs.

           In determining whether a duty exists, Rhode Island courts consider “all relevant factors,

    including the relationship between the parties, the scope and burden of the obligation to be imposed


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    upon the defendant, [and] public policy considerations,” Volpe v. Gallagher, 821 A.2d 699, 705

    (R.I. 2003). Courts also consider “the foreseeability of harm to the plaintiff.” Banks v. Bowen's

    Landing Corp., 522 A.2d 1222, 1225 (R.I. 1987).

           After weighing these factors, the Court predicts that the Rhode Island Supreme Court

    would follow the majority view and hold that Defendants do not owe a duty to Plaintiffs. There is

    no relationship between brand-name drug manufacturers and generic consumers, and the burden

    to Defendants and the consequences to the community of imposing a duty of care are great. As

    other courts have concluded, many public policy considerations weigh against holding brand-name

    competitors liable for injuries caused by their generic competitors’ drugs. See, e.g., Huck, 850

    N.W.2d at 377 (reasoning that “extending liability to brand manufacturers for harm caused by

    generic competitors would discourage investments necessary to develop new, beneficial drugs by

    increasing the downside risks”); McNair, 818 S.E.2d at 866 (explaining that “[i]f brand

    manufacturers become liable for injuries allegedly caused by generic drugs, significant litigation

    costs would be added to the price of new drugs to the disadvantage of consumers” and “the increase

    in litigation . . . could stifle the development of new drugs”). Additionally, generic consumers’

    injuries are not the foreseeable result of brand-name drug manufacturers’ conduct. See In re

    Darvocet, 756 F.3d at 944. Rather, the injuries are the foreseeable result of “the laws over which

    the brand manufacturers have no control.” Id. (citing Schwartz et al. at 1865).

           In sum, the Court predicts that the Rhode Island Supreme Court would hold that Plaintiffs’

    claims against Defendants fail for lack of product identification and for lack of a duty giving rise

    to liability under Rhode Island law.




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       29. South Carolina

           The South Carolina Supreme Court and the South Carolina intermediary appellate courts

    have not determined whether generic drug consumers may hold brand-name drug manufacturers

    liable for injuries under South Carolina law. Therefore, the Court must make a prediction using

    all “reliable data tending convincingly to show” whether the South Carolina Supreme Court would

    find Plaintiffs’ theory of liability viable for any of their claims against Defendants. See Guideone

    Elite, 420 F.3d at 1326 n.5.

           The federal District of South Carolina has predicted that the South Carolina Supreme Court

    would hold that South Carolina law does not support imposing liability on a brand-name defendant

    for a generic manufacturer’s product. See Fisher v. Pelstring, No. 4:09-CV-00252-TLW, 2010 WL

    2998474, at *10 (D.S.C. July 28, 2010). In making this predication, the court relied on the

    reasoning of analogous federal court decisions that this Court has already deemed persuasive. See

    id. at *4-5 (citing Foster, 29 F.3d at 167-71 and Couick, 691 F. Supp.2d at 645-56). The court

    also cited to several instructive decisions within the state of South Carolina, which “indicated that

    the courts of South Carolina would apparently not allow a tort recovery against a defendant for

    injuries caused by a product manufactured, distributed, and sold by a third party to which the

    plaintiff has no connection.” Id. at *6; see also Ryan v. Eli Lilly & Co., 514 F. Supp. 1004, 1006-

    07 (D.S.C. 1981) (applying South Carolina law and noting that “[t]he defendant manufacturer must

    be identified with the specific instrumentality that allegedly caused the injury” and that “[p]roof

    connecting the defendant with the instrumentality of the alleged defect is necessary regardless of

    the theory upon which plaintiff relies”); Baughman v. Gen. Motors Corp., 627 F. Supp. 871, 878

    (D.S.C. 1985) (holding that “[b]ecause plaintiff cannot show that the defendant exercised

    dominion over the allegedly defective [product], defendant may not be held liable under any tort


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    theory”). Thus, because the plaintiffs could not establish that the brand-name manufacturer

    defendants manufactured or sold the products allegedly responsible for their injuries, the court

    held that the plaintiffs’ claims, whether based in theories of strict liability or negligence, failed for

    lack of product identification and a duty. Fisher, 2010 WL 2998474, at *8.

            While the Court is not bound by the decisions of federal district courts in making its Erie

    prediction, the Court finds the district court’s reasoning in Fisher to be “reliable data tending

    convincingly to show” whether the South Carolina Supreme Court would find the theory of

    liability at issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. In sum, the Court therefore

    predicts that the South Carolina Supreme Court would hold that Plaintiffs’ claims fail for lack of

    a duty triggering liability under South Carolina law.

        30. South Dakota

            The South Dakota Supreme Court and the South Dakota intermediary appellate courts have

    not determined whether generic drug consumers may hold brand-name drug manufacturers liable

    for injuries under South Dakota law. Therefore, the Court must make a prediction using all

    “reliable data tending convincingly to show” whether the South Dakota Supreme Court would find

    Plaintiffs’ theory of liability viable for any of their claims against Defendants. See id.

            South Dakota products liability law requires product identification. See Bradley v.

    Firestone Tire & Rubber Co., 590 F. Supp. 1177, 1179 (D.S.D. 1984) (explaining that “[i]t is a

    fundamental principle that a plaintiff must prove, as an essential element of his case, that the

    defendant manufacturer actually made the particular product in question”). However, South

    Dakota does not have a products liability statute that would subsume Plaintiffs’ negligence-based

    claims. Additionally, the Court is unaware of any South Dakota caselaw indicating that those

    claims would be construed as products liability claims. The South Dakota Supreme Court could


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    consider Plaintiffs’ negligence-based claims as distinct from products liability claims under South

    Dakota law. As a result, the Court must predict whether the South Dakota Supreme Court would

    hold that Defendants owe a duty to Plaintiffs.

              In determining whether a duty exists, South Dakota courts look to “whether a ‘relationship

    exists between the parties such that the law will impose upon the defendant a legal observation of

    reasonable conduct for the benefit of the plaintiff.’” Zerfas v. AMCO Ins. Co., 873 N.W.2d 65, 69

    (S.D. 2015) (quoting First Am. Bank & Tr., N.A. v. Farmers State Bank, 756 N.W.2d 19, 26 (S.D.

    2008). Additionally, foreseeability of injury to the plaintiff and public policy play “major” roles

    in identifying a legal duty. Englund v. Vital, 838 N.W.2d 621, 632 (S.D. 2013) (Konenkamp, J.,

    concurring) (citing Kirlin v. Halverson, 758 N.W.2d 436, 453 (S.D. 2008)).

              The Court predicts that the South Dakota Supreme Court would hold that a generic

    consumer’s negligence claims against a brand-name manufacturer fail for lack of a duty triggering

    liability. As previously discussed, the Court finds there to be a complete absence of a relationship

    between a generic consumer and a brand-name manufacturer. Further, generic consumers’ injuries

    are not the foreseeable result of brand-name manufacturers’ conduct. See In re Darvocet, 756 F.3d

    at 944.     Rather, the injuries are the foreseeable result of “the laws over which the brand

    manufacturers have no control.” Id. (citing Schwartz et al. at 1865). Additionally, as other courts

    have concluded, many public policy considerations weigh against holding brand-name competitors

    liable for injuries caused by their generic competitors’ drugs. See, e.g., Huck, 850 N.W.2d at 377

    (finding that “extending liability to brand manufacturers for harm caused by generic competitors

    would discourage investments necessary to develop new, beneficial drugs by increasing the

    downside risks”) (citing Schwartz et al. at 1870–72); McNair, 818 S.E.2d at 866 (explaining that

    “[i]f brand manufacturers become liable for injuries allegedly caused by generic drugs, significant



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    litigation costs would be added to the price of new drugs to the disadvantage of consumers” and

    “the increase in litigation . . . could stifle the development of new drugs”).

           In sum, the Court predicts that the South Dakota Supreme Court would hold that Plaintiffs’

    claims against Defendants fail for lack of product identification and for lack of a duty giving rise

    to liability under South Dakota law.

       31. Utah

           The Utah Supreme Court and the Utah intermediary appellate courts have not determined

    whether generic drug consumers may hold brand-name drug manufacturers liable for injuries

    under Utah law. Therefore, the Court must make a prediction using all “reliable data tending

    convincingly to show” whether the Utah Supreme Court would find Plaintiffs’ theory of liability

    viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326 n.5.

           Utah products liability law requires product identification. Bylsma v. R.C. Willey, 416 P.3d

    595, 604 (Utah 2017) (explaining that liability may only be imposed on parties “involved in the

    product’s chain of distribution”). However, Utah does not have a products liability statute that

    would subsume Plaintiffs’ negligence-based claims. Additionally, the Court is unaware of any

    Utah caselaw indicating that those claims would be construed as products liability claims. The

    Utah Supreme Court could consider Plaintiffs’ negligence-based claims as distinct from products

    liability claims under Utah law. As a result, the Court must predict whether the Utah Supreme

    Court would find that Defendants owe a duty to Plaintiffs.

           In determining whether a duty exists, Utah courts consider: “(1) the extent that the

    manufacturer could foresee that its actions would cause harm; (2) the likelihood of injury; (3) the

    magnitude of the burden of guarding against it; and (4) the consequences of placing the burden on

    the defendant.” Slisze v. Stanley-Bostitch, 979 P.2d 317, 320 (Utah 1999). After weighing these


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    factors, the Court predicts that the Utah Supreme Court would follow the majority view and hold

    that brand-name manufacturers do not owe a duty to generic consumers. As previously discussed,

    generic consumers’ injuries are not the foreseeable result of brand-name manufacturers’ conduct.

    See In re Darvocet, 756 F.3d at 944. Rather, the injuries are the foreseeable result of “the laws

    over which the brand manufacturers have no control.” Id. (citing Schwartz et al. at 1865).

    Additionally, as other courts have concluded, many public policy considerations weigh against

    holding brand-name competitors liable for injuries caused by their generic competitors’ drugs. See,

    e.g., Huck, 850 N.W.2d at 377 (finding that “extending liability to brand manufacturers for harm

    caused by generic competitors would discourage investments necessary to develop new, beneficial

    drugs by increasing the downside risks”); McNair, 818 S.E.2d at 866 (explaining that “[i]f brand

    manufacturers become liable for injuries allegedly caused by generic drugs, significant litigation

    costs would be added to the price of new drugs to the disadvantage of consumers” and “the increase

    in litigation . . . could stifle the development of new drugs”).

             In sum, the Court predicts that the Utah Supreme Court would hold that Plaintiffs’ claims

    against Defendants fail for lack of product identification and for lack of a duty giving rise to

    liability under Utah law. 16

        32. Vermont

             The Vermont Supreme Court and the Vermont intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Vermont law. Therefore, the Court must make a prediction using all “reliable data




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       A Utah state trial court held that brand-name manufacturers owe no duty to generic drug consumers, relying heavily
    upon the Fourth Circuit’s decision in Foster. See Beutella v. A.H. Robins Co., No. 980502372, 2001 WL 35669202,
    at *3 (Utah Dist. Ct. Dec. 10, 2001). However, “in light of the huge caseloads carried by the trial courts,” the court
    opted not to draft a detailed ruling and did not analyze Utah law in any depth. Id. at *3 n.4. Thus, the Court does not
    find the decision particularly persuasive.

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    tending convincingly to show” whether the Vermont Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326

    n.5.

            Vermont products liability law requires product identification. Farnham v. Bombardier,

    Inc., 640 A.2d 47, 48 (Vt. 1994) (holding that “a plaintiff must show that the defendant’s product…

    caused injury to the consumer because of its defective design”). As for Plaintiffs’ negligence-

    based claims, the District of Vermont has predicted that the Vermont Supreme Court would

    recognize a duty owed by brand-name manufacturers to generic consumers. See Kellogg, 762 F.

    Supp. 2d at 709. In reaching this conclusion, the court began by noting that “[n]either the Vermont

    courts nor the Vermont legislature have collapsed negligence actions into strict liability actions

    where products are involved.” Id. at 704. Thus, the court found the plaintiff’s negligence-based

    claims were distinct from products liability claims and proceeded to determine whether a duty was

    owed by brand-name manufacturers to generic consumers.                  The court explained that, in

    determining whether a duty is owed, Vermont courts primarily consider the foreseeability of the

    risk, but also look to “the relationship of the parties, the nature of the risk, and the public interest

    at stake.” Id. at 705 (quoting Hamill v. Pawtucket Mut. Ins. Co., 892 A.2d 226, 228 (Vt. 2005));

    see also Langle v. Kurkul, 510 A.2d 1301, 1305 (Vt. 1986). The court held that because

            [a] pharmacist is required by law to substitute the lowest priced generic equivalent
            when filling a prescription for a drug, unless otherwise instructed by the prescriber
            . . . it is routine . . . and entirely foreseeable, that a physician will prescribe a drug
            in reliance upon information disseminated by the brand name manufacturer, and
            that the patient with receive and ingest a generic equivalent.

    Kellogg, 762 F. Supp. 2d at 705-06. The court further held imposing a duty would not be unfair

    to brand-manufacturers. Id. at 706.




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           The Court agrees with the District of Vermont insofar as the Court concludes that the

    Vermont Supreme Court could view Plaintiffs’ negligence-based claims as distinct from products

    liability claims under Vermont law. However, the Court disagrees with the District of Vermont’s

    reasoning and conclusion regarding whether the Vermont Supreme Court would recognize a duty

    owed by brand-name manufacturers to generic consumers. Generic consumers’ injuries are “not

    the foreseeable result of the brand manufacturers’ conduct, but of the [Vermont and federal] laws

    over which the brand manufacturers have no control,” and to use “these laws as the basis of

    supplying the duty element for tort liability stretches foreseeability too far.” In re Darvocet, 756

    F.3d at 944; see also Schwartz et al. at 1865. Additionally, the District of Vermont failed to

    account for the “grave health policy consequences associated with recognizing brand manufacturer

    liability in these situations including higher brand name drugs and fewer innovative drugs” and

    the complete absence of any relationship between brand-name manufacturers and generic

    consumers. In re Darvocet, 756 F.3d at 944; see also McNair, 818 S.E.2d at 864 n.11 (finding the

    reasoning in Kellogg unpersuasive and declining to recognize a duty owed by brand-manufacturers

    to generic consumers).

           In sum, the Court predicts that the Vermont Supreme Court would hold that Plaintiffs’

    claims fail either for lack of product identification and a duty giving rise to liability under Vermont

    law.

       33. Virginia

           The Supreme Court of Virginia and the Virginia intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Virginia law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Supreme Court of Virginia would find Plaintiffs’


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    theory of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d

    at 1326 n.5.

           The Northern District of Illinois has predicted that the Supreme Court of Virginia would

    hold that Virginia law does not support imposing liability on a brand-name defendant for a generic

    manufacturer’s product. See Colas v. Abbvie, Inc., No. 14 C 1452, 2014 WL 2699756, at *2 (N.D.

    Ill. June 13, 2014). In making this determination, the court noted that, under Virginia law, only

    “one who supplies directly or through a third person a chattel for another to use is subject to

    liability to those whom the supplier should expect to use the chattel.” Id. (quoting Restatement

    (Second) of Torts § 388 (Am. Law Inst. 1965)); see also Featherall v. Firestone Tire & Rubber

    Co., 252 S.E.2d 358, 366 (Va. 1979) (adopting § 388 and stating that “[t]he duty to warn stems

    from the view that the manufacturer should have superior knowledge of his product”). Because

    the brand-name manufacturer defendant was not the supplier of the drug that the plaintiff ingested,

    the plaintiff’s negligent failure to warn claim failed. Colas, 2014 WL 2699756, at *2; see also

    Baker v. Poolservice Co., 636 S.E.2d 360, 365 (Va. 2006) (stating that the plaintiff's “reliance on

    Featherall and § 388 of the Restatement (Second) of Torts to argue [that a spa repair service] owed

    a duty to warn [was] . . . misplaced” because the repair service “was not the manufacturer of the

    spa”). The court held that “the Virginia failure to warn decisions, and the weight of authority from

    other jurisdictions, suggests that the Virginia Supreme Court would not recognize such duty.”

    Colas, 2014 WL 2699756, at *2.

           While the Court is not bound by the decisions of federal district courts in making its Erie

    prediction, the Court finds the district court’s reasoning in Colas to be “reliable data tending

    convincingly to show” whether the Supreme Court of Virginia would find the theory of liability at

    issue to be viable. See Guideone Elite, 420 F.3d at 1326 n.5. In sum, the Court therefore predicts



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    that the Supreme Court of Virginia would hold that Plaintiffs’ claims fail for lack of a duty

    triggering liability under Virginia law.

       34. Wisconsin

           The Wisconsin Supreme Court and the Wisconsin intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Wisconsin law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Wisconsin Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See id.

           Wisconsin products liability law requires product identification. See Green v. Smith &

    Nephew AHP, Inc., 629 N.W.2d 727, 746 (Wis. 2001) (holding that “strict products liability holds

    that manufacturer responsible for injuries caused by that product”). However, Wisconsin does not

    have a products liability statute that would subsume Plaintiffs’ negligence-based claims.

    Additionally, the Court is unaware of any Wisconsin caselaw indicating that those claims would

    be construed as products liability claims. The Wisconsin Supreme Court could consider Plaintiffs’

    negligence-based claims as distinct from products liability claims under Wisconsin law. As a

    result, the Court must predict whether the Wisconsin Supreme Court would find that Defendants

    owe a duty to Plaintiffs.

           A Wisconsin appellate court has made clear that “a manufacturer only owes a duty to warn

    regarding its own products, not products it did not manufacture, sell, or otherwise place in the

    stream of commerce.” Screiner v. Wieser Concrete Prods. Inc., 720 N.W.2d 525, 531 (Wis. Ct.

    App. 2006). Additionally, when determining the existence of a duty, Wisconsin courts look to

    whether “it was foreseeable that the defendant's act or omission could harm or injure another

    person.” Morden v. Cont'l AG, 611 N.W.2d 659, 674 (Wis. 2000). As discussed, generic



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    consumers’ injuries are not the foreseeable result of brand-name drug manufacturers’ conduct. See

    In re Darvocet, 756 F.3d at 944. Rather, the injuries are the foreseeable result of “the laws over

    which the brand manufacturers have no control.” Id. (citing Schwartz et al. at 1865). Thus, given

    the appellate court’s holding in Screiner and the lack of foreseeability of generic consumers’

    injuries, the Court predicts that the Wisconsin Supreme Court would not impose a duty on brand-

    name drug manufacturers to generic consumers.

           In sum, the Court predicts that the Wisconsin Supreme Court would hold that Plaintiffs’

    claims against Defendants fail for lack of product identification and for lack of a duty giving rise

    to liability under Wisconsin law.

       35. Wyoming

           The Wyoming Supreme Court and the Wyoming intermediary appellate courts have not

    determined whether generic drug consumers may hold brand-name drug manufacturers liable for

    injuries under Wyoming law. Therefore, the Court must make a prediction using all “reliable data

    tending convincingly to show” whether the Wyoming Supreme Court would find Plaintiffs’ theory

    of liability viable for any of their claims against Defendants. See Guideone Elite, 420 F.3d at 1326

    n.5.

           Wyoming products liability law requires product identification. See Ogle v. Caterpillar

    Tractor Co., 716 P.2d 334, 342 (Wyo. 1986) (adopting the Restatement (Second) Torts § 402A,

    which explains that “[o]ne who sells any product . . . is subject to liability for physical harm thereby

    caused if . . . the seller is engaged in the business of selling such a product”). However, Wyoming

    does not have a products liability statute that would subsume Plaintiffs’ negligence-based claims.

    Additionally, the Court is unaware of any Wyoming caselaw indicating that those claims would

    be construed as products liability claims. The Wyoming Supreme Court could consider Plaintiffs’



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    negligence-based claims as distinct from products liability claims. As a result, the Court must

    predict whether the Wyoming Supreme Court would hold that Defendants owe a duty to Plaintiffs.

           In determining whether a duty is owed, Wyoming courts look to:

           (1) the foreseeability of harm to the plaintiff, (2) the closeness of the connection
           between the defendant’s conduct and the injury suffered, (3) the degree of certainty
           that the plaintiff suffered injury, (4) the moral blame attached to the defendant’s
           conduct, (5) the policy of preventing future harm, (6) the extent of the burden upon
           the defendant, (7) the consequences to the community and the court system, and (8)
           the availability, cost and prevalence of insurance for the risk involved.

    Gates v. Richardson, 719 P.2d 193, 196 (Wyo. 1986).

           After weighing these factors, the Court predicts that the Wyoming Supreme Court would

    follow the majority view and hold that brand-name drug manufacturers do not owe a duty to

    generic consumers. First, generic consumers’ injuries are not the foreseeable result of brand-name

    manufacturers’ conduct. See In re Darvocet, 756 F.3d at 944, Rather, the injuries are the

    foreseeable result of “the laws over which the brand manufacturers have no control.” Id. (citing

    Schwartz et al. at 1865). To impose a duty under Wyoming law “would be to stretch the concept

    of foreseeability too far.” Foster, 29 F.3d at 171.

           Further, the Court finds that the connection between brand-name manufacturers’ conduct

    and generic consumers injuries is attenuated, given the absence of a relationship between the them.

    And the burden to brand-name manufacturers and the consequences to the community of imposing

    a duty of care are great. As other courts have concluded, many public policy considerations weigh

    against holding brand-name manufacturers liable for injuries caused by their generic competitors’

    drugs. See, e.g., Huck, 850 N.W.2d at 377 (finding that “extending liability to brand manufacturers

    for harm caused by generic competitors would discourage investments necessary to develop new,

    beneficial drugs by increasing the downside risks”); McNair, 818 S.E.2d at 866 (explaining that

    “[i]f brand manufacturers become liable for injuries allegedly caused by generic drugs, significant

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    litigation costs would be added to the price of new drugs to the disadvantage of consumers” and

    “the increase in litigation . . . could stifle the development of new drugs”).

           In sum, the Court predicts that the Wyoming Supreme Court would hold that Plaintiffs’

    claims against Defendants fail for lack of product identification and for lack of a duty giving rise

    to liability under Wyoming law.




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